Case 2:19-cv-07271-GRB-LGD Document 39-16 Filed 01/03/23 Page 1 of 46 EXHIBIT
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                                                                             1
               UNITED STATES DISTRICT COURT                                  2            STIPULATIONS
               EASTERN DISTRICT OF NEW YORK
                                                                             3
               -----------------------------------------------x
               MARIA SUAREZ,                                                 4       IT IS HEREBY STIPULATED AND AGREED by and
                                                                             5   between the attorneys for the respective
                         Plaintiff,
                                                                             6   parties herein, that filing, sealing and
                      -against-       Index No:                              7   certification be and the same are hereby waived.
                                   19-cv-07271(GRB)(SIL)                     8       IT IS FURTHER STIPULATED AND AGREED that all
                                                                             9   objections, except as to the form of the question
                                                                            10   shall be reserved to the time of the trial.
               SOUTHERN GLAZER'S WINE AND SPIRITS OF
               NEW YORK, LLC,                                               11       IT IS FURTHER STIPULATED AND AGREED that the
                                                                            12   within     deposition may be signed and sworn to
                          Defendant.                                        13   before any officer         authorized to administer an
               -----------------------------------------------x
                   VIDEOCONFERENCE EXAMINATION BEFORE TRIAL of
                                                                            14   oath, with the same force and effect as if signed
               the Defendant, SOUTHERN GLAZER'S WINE AND SPIRITS OF         15   and sworn to before The Court.
               NEW YORK, LLC, taken by the Plaintiff, pursuant to           16
               Court Order, held on November 22, 2022, at
                                                                            17
               9:53 a.m., before a Notary Public of the State of
               New York.                                                    18
                                                                            19
               **************************************************           20
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           1                                                                 1
           2    A P P E A R A N C E S:                                       2     IT IS HEREBY STIPULATED AND AGREED by and between
           3     MOSER LAW FIRM, P.C.                                        3   counsel for all parties present that pursuant to
                   Attorneys for Plaintiff
                                                                             4   CPLR Section 3113(d), this deposition is to be
           4       5 East Main Street
                   Huntington, New York 11743                                5   conducted by videoconference, that the court
           5                                                                 6   reporter, all counsel, and the witness are all in
                   BY: STEVEN MOSER, ESQ.                                    7   separate remote locations and participating via
           6                                                                 8   videoconference (LegalView/Zoom) meeting under the
           7
                                                                             9   control of Lexitas Court Reporting Services, that
           8
                   COSTANGY, BROOKS, SMITH & PROPHETE, LLP                  10   the officer administering the oath to the witness
           9        Attorneys for Defendant                                 11   need not be in the place of the deposition and the
                    175 Pearl Street                                        12   witness shall be sworn in remotely by the court
          10        Brooklyn, New York 11201                                13   reporter after confirming the witness's identity
          11       BY: ANJANETTE CABRERA, ESQ.
                                                                            14   that this videoconference will not be recorded in
          12
          13                                                                15   any manner and that any recording without the
          14                                                                16   express written consent of all parties shall be
          15                                                                17   considered unauthorized, in violation of the law,
          16
                                                                            18   and shall not be used for any purpose in this
          17
                                                                            19   litigation or otherwise.
          18
          19                                                                20     IT IS FURTHER STIPULATED that exhibits may be
          20                                                                21   marked by the attorney presenting the exhibit to
          21                                                                22   witness, and that a copy of any exhibit presented to
          22
                                                                            23   a witness shall be Emailed to or otherwise in
          23
          24                                                                24   possession of all counsel prior to any questioning
          25                                                                25   of a witness regarding the exhibit in question. All



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           1                                                           1                  R. KOHN
           2   parties shall bear their own costs in the conduct of    2   or medications, which would affect your ability to
           3   this deposition by videoconference, notwithstanding     3   testify truthfully and accurately today?
           4   the obligation by CPLR to supply a copy of the          4    A. I am not.
           5   transcript to the deposed party by the taking party     5    Q. Can you think of any reason you would not be
           6   in civil litigation matters.                            6   able to give truthful and accurate testimony today?
           7                                                           7    A. No.
           8                                                           8    Q. Are you employed by Southern Glazer's Wine
           9                                                           9   and Spirits?
          10                                                          10    A. I am.
          11                                                          11    Q. How long have you been employed by them?
          12                                                          12    A. Approximately 15 years.
          13                                                          13    Q. What is your current role?
          14                                                          14    A. Vice president of operations for the
          15                                                          15   northeast.
          16                                                          16    Q. What geographic region encompasses the
          17                                                          17   northeast?
          18                                                          18    A. New York; Maryland; Washington, D.C.;
          19                                                          19   Delaware; Pennsylvania; Maine; Vermont; and New
          20                                                          20   Hampshire.
          21                                                          21    Q. How long have you had this role?
          22                                                          22    A. Two years.
          23                                                          23    Q. Do you maintain an office at 313 Underhill
          24                                                          24   Boulevard in Syosset?
          25                                                          25    A. Yes.


                                                        Page 6                                                     Page 8
           1                                                           1                  R. KOHN
           2   R O Y K O H N, the witness herein, having been          2    Q. What was your title before?
           3   first duly sworn by a Notary Public of the State of     3    A. Vice president of operations for New York
           4   New York, was examined and testified as follows:        4   State.
           5   EXAMINATION BY                                          5    Q. What geographic location does that include?
           6   MR. MOSER:                                              6    A. New York State.
           7     Q. State your name for the record, please.            7    Q. Were you responsible in any way for
           8     A. Roy Kohn.                                          8   supervising or managing any operations in northern
           9     Q. State your address for the record, please.         9   New Jersey?
          10     A. 313 Underhill Boulevard, Syosset, New York        10    A. Yes.
          11   11791.                                                 11    Q. What locations in New Jersey were you
          12     Q. Good morning, Mr. Kohn. My name is Steve          12   responsible for?
          13   Moser. I am an attorney. I represent Maria Suarez      13    A. Linden, New Jersey.
          14   in a case that she is bringing against Southern        14    Q. Was that when you were the VP of Operations
          15   Glazer's Wine and Spirits. I am going to have some     15   for New York State?
          16   questions for you today. If you don't understand a     16    A. That is correct.
          17   question of mine, please let me know, and I will       17    Q. Can you tell me the date on which you became
          18   repeat it or rephrase it as many times as necessary;   18   the VP of northeast operations?
          19   is that fair?                                          19    A. It was in February of 2000.
          20     A. Yes, sir.                                         20    Q. So you became a VP of operations for New York
          21     Q. If for some reason you don't understand a         21   State in February 2000, correct?
          22   question of mine, don't answer it. Do you              22    A. No. I became VP for operations for New York
          23   understand that as well?                               23   State in December 2007. I held that role for 13 or
          24     A. Yes, I do.                                        24   so years and for the last two years held the
          25     Q. Are you under the influence of any narcotics      25   regional role.


                                                                                             2 (Pages 5 to 8)
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           1                  R. KOHN                                  1                  R. KOHN
           2     Q. When you became the VP of operations for New       2   you have access to financial information of Southern
           3   York State in December 2007, where was your office?     3   Glazer's Wine and Spirits?
           4     A. At 313 Underhill Boulevard in Syosset.             4    A. Yes.
           5     Q. Did that remain your office for the entire         5    Q. Were you able to review their profit and loss
           6   time you were the VP of operations for the state of     6   statements?
           7   New York?                                               7    A. Yes.
           8     A. That was one of my offices.                        8    Q. Do they maintain a profit and loss statement
           9     Q. What other offices did you have?                   9   for the State of New York as if it was an
          10     A. I had an office in Syracuse, New York. If         10   independent entity?
          11   you would like the address, it is 3063 Court Street,   11    A. There are two separate companies in New York,
          12   Syracuse.                                              12   Southern Wine and Spirits or Southern Glazer's Wine
          13     Q. How did you divide your time as VP of             13   and Spirits of Metropolitan New York and Southern
          14   operations between 313 Underhill in Syosset and your   14   Glazer's Wine and Spirits of Upstate New York.
          15   office in Syracuse?                                    15   There were financial statements for both companies.
          16     A. I went where the work necessitated.               16    Q. Those financial statements would have
          17     Q. Can you approximate for me what percentage of     17   included all the regular financial things such as
          18   your time you spent in Syracuse versus Syosset?        18   statement of cash flows, profit and loss statements,
          19     A. Roughly one week a month in Syracuse,             19   assets and liabilities?
          20   three weeks a month in Syosset.                        20    A. Typically, yes, but our financial packages
          21     Q. Is your permanent residence on Long Island?       21   did not include assets and liabilities. It did not
          22     A. No, it is not.                                    22   include a balance sheet.
          23     Q. Where is your permanent residence?                23    Q. Who did you report to as VP of operations in
          24     A. Today, Manhattan.                                 24   New York State?
          25     Q. Did you ever have a residence in upstate New      25    A. In 2007?


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           1                   R. KOHN                                 1                  R. KOHN
           2   York, a permanent residence?                            2    Q. Yes. When you first started.
           3    A. No.                                                 3    A. Larry Goodrich. Lawrence Goodrich was the
           4    Q. Has your permanent residence always been in         4   general manager of New York State.
           5   the New York metropolitan area?                         5    Q. For how long was he your manager?
           6    A. Yes.                                                6    A. Roughly ten years.
           7    Q. Could you describe for me what your duties          7    Q. Who was your manager after Larry Goodrich?
           8   were as VP of operations for New York State?            8    A. When Larry retired, he was replaced by Martin
           9    A. I was responsible for, in a nutshell,               9   Crane who became my manager.
          10   everything except sales, which would include           10    Q. Martin Crane's title was also GM of New York
          11   warehouse, delivery, occupancy, all of the             11   State?
          12   administrative back of the house departments in all    12    A. Yes. Executive vice president general
          13   the facilities within the state.                       13   manager.
          14    Q. How many individuals worked underneath you?        14    Q. Who did Larry Goodrich report to?
          15    A. At the time I was the VP of operations for         15    A. To our corporate office in Miami.
          16   New York State?                                        16    Q. What individual did he report to?
          17    Q. Correct.                                           17    A. I believe it was Brad Vassar.
          18    A. In total 800 at the time.                          18    Q. Who is Brad Vassar?
          19    Q. What was the lowest number of people that          19    A. He was the chief operating officer who has
          20   were under you when you were VP of operations as       20   since retired.
          21   opposed to the lowest?                                 21    Q. We have been referring to Southern Glazer's
          22    A. 800 was probably the low average, and it           22   Wine and Spirits, but it has not always been known
          23   probably grew to just under 1,000 for VP of            23   as Southern Glazer's Wine and Spirits, correct?
          24   operations in New York State.                          24    A. Correct.
          25    Q. As VP of operations for New York State, did        25    Q. For some period of time, it was Southern Wine


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           1                  R. KOHN                                 1                   R. KOHN
           2   and Spirits?                                           2    State?
           3    A. Correct, sir.                                      3      A. Seven or eight.
           4    Q. If I refer to both Southern Wine and Spirits       4            (Whereupon, Organizational Chart January
           5   and Southern Glazer's Wine and Spirits as Southern     5        2016 was marked as Plaintiff's Exhibit 19,
           6   for the rest of the deposition, can I do that so we    6        for identification, as of this date.)
           7   can simplify it?                                       7            (Whereupon, Organizational Chart October
           8    A. Of course.                                         8        2016 was marked as Plaintiff's Exhibit 20,
           9    Q. Is Southern privately owned?                       9        for identification, as of this date.)
          10    A. Yes.                                              10            (Whereupon, Organizational Chart January
          11    Q. By whom?                                          11        2017 was marked as Plaintiff's Exhibit 21,
          12    A. Several families.                                 12        for identification, as of this date.)
          13    Q. Which families?                                   13            (Whereupon, Operations Organization Chart
          14    A. The Chaplain family, the Glazer family, the       14        was marked as Plaintiff's Exhibit 22, for
          15   Becker family, and I am unsure of anyone else.        15        identification, as of this date.)
          16    Q. That is today, correct?                           16            (Whereupon, Organization Chart August
          17    A. That is correct.                                  17        2018 was marked as Plaintiff's Exhibit 23,
          18    Q. Who was Southern Glazer's Wine and Spirits        18        for identification, as of this date.)
          19   owned by?                                             19      Q. Do you understand you are here today to
          20    A. The same list of owners with the exception of     20    testify based upon certain specified topics?
          21   the Glazer family.                                    21      A. Yes.
          22    Q. So the Chaplain family and the Becker family?     22      Q. Was one of those topics, to your knowledge,
          23    A. Yes, and perhaps others that I am not aware       23    the production of documents that Southern made in
          24   of.                                                   24    this case?
          25    Q. Was the Chaplain family the majority              25      A. Yes.


                                                     Page 14                                                              Page 16
           1                  R. KOHN                                 1                 R. KOHN
           2   shareholders?                                          2    Q. I am going to show you Plaintiff's
           3    A. I believe so.                                      3   Exhibit 19, which has a Bates stamp in the lower
           4    Q. Were the Chaplains and the Beckers part of         4   right-hand corner SGWS001197 to SWGS001122. I would
           5   the same family or were they actually different        5   like you to take a couple of minutes to review it.
           6   families?                                              6    A. I have reviewed it.
           7    A. I don't know.                                      7    Q. This may sound a little bit fundamental, but
           8    Q. Who was the CEO of Southern in 2007?               8   not everybody knows, but what is an organizational
           9    A. I believe it was Brad Vassar.                      9   chart?
          10    Q. As VP of operations for the state of New          10    A. It is typically a visual that determines the
          11   York, did you have to meet with the owners of the     11   hierarchy of an organization.
          12   company?                                              12    Q. Is that what this particular document is?
          13    A. I met them, yes.                                  13    A. Yes.
          14    Q. On how many different occasions?                  14    Q. Does it show the relationship between
          15    A. A handful.                                        15   employees at the New York operations division in
          16    Q. Where did you meet them?                          16   January 2016?
          17    A. Most likely at a corporate meeting.               17    A. Yes.
          18    Q. Here or in Florida?                               18    Q. Is it true and accurate?
          19    A. I think both.                                     19    A. In my moment reviewing it, yes, it appears to
          20    Q. Did your duties remain more or less the same      20   be true and accurate.
          21   for the entire time you were VP of operations for     21    Q. Did this document exist or was it created by
          22   the state of New York?                                22   Southern in response to our request?
          23    A. Generally the same, yes.                          23    A. No. It certainly existed.
          24    Q. How many people directly reported to you          24    Q. Is it important to have these current?
          25   while you were the VP of operations of New York       25    A. That is typically an internal document.


                                                                                            4 (Pages 13 to 16)
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           1                  R. KOHN                                  1                   R. KOHN
           2     Q. Is there any reason to believe that this           2   depict the relationship between employees that
           3   document is not true and accurate or does not truly     3   existed as of January 2016?
           4   and accurately depict the relationship between          4    A. Would you point me to a specific page or
           5   employees?                                              5   would you like me to go through the whole document
           6     A. No.                                                6   again?
           7     Q. If you turn to SGWS001108.                         7    Q. For this question I will target certain pages
           8     A. Yes.                                               8   so we don't cover the same material.
           9     Q. This shows that in January 2016 you were the       9    A. Thank you.
          10   VP of operations for New York State, correct?          10    Q. I would like to draw your attention to pages
          11     A. Yes.                                              11   1108, 1109, 1117 and 1119?
          12     Q. The line going down where it says here            12    A. Okay.
          13   Nanette Ellia, executive administrative assistant,     13    Q. For those specific four pages, do these pages
          14   what does that mean when you have that horizontal      14   fairly and accurately depict the relationship
          15   line there?                                            15   between employees that existed as of January 2016?
          16     A. Nanette is my executive assistant.                16           MS. CABRERA: Objection.
          17     Q. Does she help you manage the managers or          17           You are free to answer the question.
          18   assist you in your duties?                             18           I just want to be clear that this is
          19     A. She assists me administratively.                  19       beyond the scope of the 30(b)(6) notice. The
          20     Q. In terms of an organizational chart, the          20       30(b)(6) notice indicated you wanted to ask
          21   people on the bottom report to the people on top?      21       questions regarding how these documents
          22     A. Correct. It is a hierarchy.                       22       produced. There is nothing in the notice
          23     Q. Kevin Randall was the vice president for          23       that talks about confirming reporting
          24   Metro New York in January 2016, correct?               24       relations. So again, the witness is free to
          25     A. Yes.                                              25       answer the question, but he is doing so as a


                                                      Page 18                                                    Page 20
           1                   R. KOHN                                 1                  R. KOHN
           2     Q. For how long had Kevin Randall been the VP of      2       fact witness and not as a 30(b)(6).
           3   operations in Metropolitan New York?                    3    A. Yes. The relationships on 1108, 1109, 1117,
           4     A. I think he has been the vice president of          4   and 1119 appear to be correct.
           5   operations for roughly eight years.                     5    Q. Let's turn to Plaintiff's Exhibit 20 for
           6     Q. So that is approximately going back to 2014?       6   identification.
           7     A. Approximately, yes.                                7       Have you had the opportunity to review that
           8            MR. MOSER: Off the record.                     8   document?
           9            (Whereupon, a discussion was held off the      9    A. Yes.
          10        record.)                                          10    Q. I will draw your attention specifically to
          11     Q. Have you had the opportunity to completely        11   several pages of this document. I would like you to
          12   review Plaintiff's Exhibit 19?                         12   look at 1151, 1152, 1160, and 1162.
          13     A. This is the original document you gave me         13    A. Yes. The relationships on 1151, 1152, 1160,
          14   before the brief break?                                14   and 1162 appear to be accurate.
          15     Q. Yes.                                              15    Q. I will have a series of questions regarding
          16     A. Yes.                                              16   these four pages.
          17     Q. Does that fairly and accurately depict the        17       Do these four pages fairly and accurately
          18   individuals employed by Southern as of January 2016?   18   show the individuals employed by Southern in
          19     A. Yes.                                              19   October 2016?
          20     Q. Does it fairly and accurately depict the          20           MS. CABRERA: I am going to make the same
          21   titles that these individuals had as of                21       objection. This goes beyond the scope of the
          22   January 2016?                                          22       30(b)(6) notice. The witness is free to
          23     A. Let me review each title. Yes. They all           23       answer as a fact witness.
          24   look correct.                                          24    A. Yes. These appear to be correct.
          25     Q. Does this document fairly and accurately          25    Q. Do they fairly and accurately depict these


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           1                  R. KOHN                                 1                   R. KOHN
           2   individuals' titles as well?                           2   reviewing.
           3     A. Where the titles are present, they appear to      3    A. Was that a hint that I am taking too long?
           4   be correct.                                            4    Q. No. You can take as much time as you like.
           5     Q. So I am going to show you another document        5    A. I believe this is accurate.
           6   that has been marked as Plaintiff's Exhibit 21, and    6    Q. So do these three pages, 1084, 1085 and 1094.
           7   I am going to draw your attention to four pages of     7   Fairly accurately depict the employees that worked,
           8   this document. I am going to have the same question    8   their titles, and their relationships as of
           9   with regard to those four pages. The question is       9   April 2018?
          10   whether or not those pages fairly and accurately      10    A. Again, I will preface by saying this is four
          11   depict the employees of Southern, their titles, and   11   and a half years ago, and yes.
          12   their relationships as of the date of this            12    Q. I am going to show you the last
          13   organization chart? I will give you the four pages.   13   organizational chart, thankfully, plaintiff's
          14   They are 1124, 1125, 1133 and 1135.                   14   Exhibit 23 for identification. I would like to draw
          15           MS. CABRERA: I am going to note the same      15   your attention to two pages of this document. They
          16       objection. This goes beyond the notice. The       16   are 1096 and 1103.
          17       witness is free to answer as a fact witness,      17    A. May I refer back to the last document?
          18       but not as a 30(b)(6) witness.                    18    Q. Of course you may.
          19     A. Can you repeat the question.                     19    A. This one just looks a little bit cleaned up
          20     Q. Do these four pages fairly and accurately        20   versus the prior one, versus 1094.
          21   depict the individuals employed, their titles, and    21    Q. You are referring to 1103?
          22   their relationships as of the date of this            22    A. Yes. 1103 and 1094.
          23   organizational chart?                                 23    Q. When you say 1103 is cleaned up, can you be
          24     A. You are asking me about titles of individuals    24   more specific.
          25   from five plus years ago.                             25    A. There are many more boxes on 1094 than 1103.


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           1                  R. KOHN                                 1                  R. KOHN
           2     Q. I understand.                                     2    Q. Do you know why that is?
           3     A. They appear to be correct.                        3    A. It appears 1094 is more detailed, including
           4     Q. Do you have any reason to believe they are        4   clerical employees, extra steadies, drivers,
           5   not accurate?                                          5   casuals, receiving clerks, steady drivers.
           6     A. But you are asking me to verify titles in         6    Q. So you pointed out that the 1103 does not
           7   excess of five years ago.                              7   include low level employees; is that fair to say?
           8     Q. I understand, but how about with individuals      8    A. I believe 1103 is a more top-line view
           9   employed and their relationships? Does it fairly       9   excluding some hourly workforce positions. I see
          10   and accurately depict the individuals and their       10   some supervisors omitted. It looks like it is
          11   relationships?                                        11   focused on the manager/director level than below.
          12     A. Again, I will preface that this is in excess     12    Q. So you are talking about 1103, correct?
          13   of five years ago, but their relationships do look    13    A. Yes.
          14   correct.                                              14    Q. So other than that, when we look at 1096 and
          15     Q. I am going to show you what was marked as        15   1103, do they fairly and accurately depict the
          16   Plaintiff's Exhibit 22 for identification, and I      16   individuals employed, their titles and relationships
          17   would like to draw your attention to three pages of   17   as of October 2016?
          18   this document. They are 1084, 1085 and 1094.          18    A. I think you said 1096 and 1103. It is 1094
          19     A. The last number is 1094?                         19   and 1103.
          20     Q. Correct.                                         20    Q. No, no. I am talking about 1096, which is
          21     A. Is that the final page of the document? It       21   the first page I drew your attention to of
          22   is just over font.                                    22   Exhibit 23.
          23     Q. Yes, it is the final page.                       23       So other than the differences that you have
          24     A. Thank you.                                       24   observed and pointed out between 1094 and 1103,
          25     Q. Just let me know when you are finished           25   other than those differences, do 1096 and 1103


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           1                 R. KOHN                                   1                  R. KOHN
           2   fairly and accurately depict the individuals            2   any time before she was let go?
           3   employed, their titles, and their relationships as      3     A. Can you elaborate on assisting her in her
           4   of October 2016?                                        4   duties.
           5           MS. CABRERA: Objection. Exhibit 23 is           5     Q. Well, did he help her in any way, to your
           6       August 2018.                                        6   knowledge?
           7           MR. MOSER: I apologize. Let me withdraw         7     A. I am sure he did.
           8       the question.                                       8     Q. Do you have any specific knowledge of the
           9    Q. Other than the differences that you have            9   ways in which he helped her?
          10   pointed out between 1094 and 1103, do pages 1096 and   10     A. Through me preparing for today's deposition,
          11   1103 fairly and accurately depict the individuals      11   I saw a lot of emails, I looked at a lot of
          12   employed, their titles, and their relationships as     12   documents and Maria's performance degraded over
          13   of August 2018?                                        13   time, and because Barry was a support person in the
          14    A. I will again preface this by saying this is        14   facility with a manager title, I am sure he assisted
          15   in excess of four years ago, but yes, they look        15   Maria in her duties.
          16   correct.                                               16     Q. Why do you believe it was Barry Finkelstein
          17    Q. Do you know why hourly employees and               17   versus someone else who stepped in to help Maria
          18   supervisors were excluded from 1103?                   18   before she was finally let go?
          19    A. No, I do not. I started this conversation by       19     A. I believe many people assisted Maria. You
          20   saying it appeared that the document was cleaned up.   20   asked me specifically if I believe Barry did. I
          21    Q. Should there be an organizational chart that       21   think there were many more people than Barry that
          22   shows all of the relationships included hourly         22   supported Maria.
          23   employees?                                             23     Q. Do you have knowledge of the specific ways in
          24    A. Depends on what the organizational chart will      24   which Barry helped Maria before she was finally let
          25   be used for.                                           25   go?


                                                      Page 26                                                     Page 28
           1                 R. KOHN                                   1                  R. KOHN
           2    Q. But did Southern maintain organizational            2           THE WITNESS: Am I the company witness at
           3   charts showing the relationships between all            3       this point or am I Roy?
           4   employees?                                              4           MS. CABRERA: No. You are Roy.
           5    A. I don't believe so.                                 5     Q. Based upon your personal knowledge.
           6    Q. Do you know why 1103 appears to be cleaned          6     A. Maria's performance was degrading. She had a
           7   up?                                                     7   longstanding performance problem; and people went
           8    A. No.                                                 8   out of their way to try to help her regain her
           9    Q. Do you know if there was a title called             9   footing, maintain her position, and correct a lot of
          10   inventory control clerk or cycle counter in            10   ineffectiveness, poor performance and financial
          11   August 2018 in the Syosset warehouse?                  11   losses that she was creating for the organization.
          12    A. I believe there was.                               12   So this was a transition from a manual inventory
          13    Q. Those individuals, who did they report to in       13   system to a more fully automated scanning system.
          14   August 2018?                                           14   There were not just people from Syosset and New York
          15    A. Likely to Barry Finkelstein.                       15   State on site. There were people from all over
          16    Q. Why would that have been Barry Finkelstein or      16   America to support the transformation of the
          17   what leads you to believe it was Barry Finkelstein?    17   perpetual inventory from being processed manually to
          18    A. I believe when Ms. Suarez was released from        18   being more mechanized and automated. Any time a
          19   the company, her duties were split between Tonisha     19   facility goes live with a new system, whether it be
          20   Durant and Barry Finkelstein.                          20   a conveyer system, a sortation system, a WMI system,
          21           MR. MOSER: I know this is beyond the           21   a warehouse management system. Any new type of
          22       topic. I know this is whether he has               22   software the country's experts come to the site to
          23       personal knowledge of this.                        23   lend a hand to help take away the learning curve, to
          24    Q. Do you know whether Barry Finkelstein was          24   train on-site people and to prepare the local group
          25   assisting Maria in the performance of her duties at    25   to exist without them. I would say during the time


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           1                  R. KOHN                                  1                   R. KOHN
           2   that these experts from America from Southern in        2     Q. What is the difference before a supervisor
           3   America came on site, Maria was given an                3   and a manager?
           4   extraordinary amount of attention to help her get       4     A. I'm not sure of the question you are asking.
           5   through her learning curve and try to find a place      5   I know what I heard, but I'm not sure what you are
           6   that was going to make her more functional for the      6   asking.
           7   company as opposed to someone who was belligerent       7     Q. You talked before about there are managers,
           8   and being quite obstinate in taking advice from the     8   there are supervisors, and I am just wondering if
           9   experts in the company. So I would say there were a     9   there is a difference between a manager and
          10   lot of people outside of Barry Finkelstein that        10   supervisor at Southern and if so, what that
          11   supported Maria Suarez.                                11   difference is?
          12     Q. I thank you for you that, but specifically        12     A. There are managers and supervisors of people,
          13   with regard to Barry Finkelstein, do you know what     13   and there are managers and supervisors of processes.
          14   ways in which Barry Finkelstein supported Maria in     14     Q. Is there any difference between a manager and
          15   her role before she was finally let go?                15   a supervisor?
          16     A. Specifically, I wasn't with the two of them       16     A. Yes.
          17   when he was working with her, but Barry Finkelstein    17     Q. Managers and supervisors of people, let's
          18   was one of the on-site experts, and Maria's            18   say, what is the difference between a manager and
          19   performance was degrading. So it behooved Barry        19   supervisor of people?
          20   Finkelstein and the company to get Maria up to         20     A. A manager may be responsible for more people
          21   speed. Specifics to what he did to sit with her to     21   or more critical processes.
          22   train her on the scanning or the processes and         22     Q. Are there any other differences between
          23   procedures, I can't speak to, but Maria had more       23   managers and supervisors?
          24   attention provided by this group of people than        24     A. I am sure there are many.
          25   anyone would have ever anticipated.                    25     Q. Do you know an individual by the name of


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           1                  R. KOHN                                  1                  R. KOHN
           2     Q. So did Barry Finkelstein have disciplinary         2   Peter Lazar?
           3   authority of inventory control clerks before Maria      3     A. I do.
           4   left the company?                                       4     Q. Who is Peter Lazar?
           5     A. Barry Finkelstein was a manager for the            5     A. Peter, I believe, today is the mid-shift
           6   company. He would surely have disciplinary              6   manager in the Syosset returns dock.
           7   authority over people in the inventory control          7     Q. When was Mr. Lazar hired?
           8   sector.                                                 8     A. Maybe five years ago.
           9     Q. Was Maria a manager?                               9     Q. Would that have been in 2016?
          10     A. At what point in time?                            10     A. This is Roy answering?
          11     Q. At any point in time.                             11     Q. Yes.
          12     A. Maria applied for the WMI administrator role      12     A. I do not know. Roughly five years ago.
          13   in 2016. She was awarded the role. She was             13     Q. Who was he hired to replace? Again, this is
          14   qualified for the role. Don't be misled by the         14   if you know.
          15   title of administrator. The inventory control          15     A. I think he was not hired to replace anyone.
          16   clerks reported through her. Her voice was heard       16   I believe he was hired to bolster the organization
          17   when she talked about them. Yes, she had authority     17   and bring in additional management.
          18   over that group of people, and I think at the height   18     Q. Do you know what title he was hired into?
          19   she had four or five inventory clerks reporting to     19     A. I believe it was mid-shift manager or
          20   her.                                                   20   mid-shift warehouse manager.
          21     Q. So when she became the WMI administrator,         21     Q. Did anyone besides Maria have disciplinary
          22   although not having the formal title of manager, in    22   authority over inventory control clerks, otherwise
          23   your opinion she was a manager?                        23   known as cycle counters, before she left the
          24     A. She had supervisory authority over the people     24   company?
          25   that reported to her. The inventory clerks, surely.    25     A. I am sure anyone in a managerial position, a


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           1                 R. KOHN                                   1                  R. KOHN
           2   position of authority, would have disciplinary          2   whether or not she was an exempt executive?
           3   opportunities with the inventory control clerks or      3    A. Can I refer to my notes?
           4   cycle counters.                                         4    Q. Of course you can.
           5    Q. Was she considered their direct manager for         5           MS. CABRERA: And you can look at
           6   the purposes of discipline before she left the          6       whatever he looks at, obviously. Just for
           7   company?                                                7       the record we are now officially in 30(b)(6)
           8    A. Yes. I think she would recommend discipline         8       territory.
           9   to her manager, John Wilkinson.                         9           MR. MOSER: Yes.
          10    Q. So she would recommend something to John           10    A. As I mentioned a few moments ago Maria's
          11   Wilkinson.                                             11   duties, her primary duty was managing the inventory
          12       Could she take any steps herself to monitor        12   control department. She customarily directed the
          13   an employee's performance or to discipline them?       13   work of the inventory control counters.
          14           MS. CABRERA: Objection to the form of          14    Q. Are you referring to notes that you referred
          15       the question.                                      15   to in preparing for today's deposition?
          16           You can answer.                                16    A. Yes.
          17    A. Would you repeat that?                             17    Q. May I see those?
          18    Q. Before Maria left the company when she was         18    A. Absolutely.
          19   the WMI administrator, she would make                  19    Q. After Maria became WMI administrator, did she
          20   recommendations to John Wilkinson about discipline,    20   have the authority to hire or fire any employees
          21   correct?                                               21   without approval?
          22    A. Yes. I think most people make                      22    A. Very few people in the organization had or
          23   recommendations upstream.                              23   have the authority to fire employees without
          24    Q. Did she have the authority to discipline any       24   approval.
          25   of the inventory control clerks without                25    Q. Was she one of those individuals?


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           1                 R. KOHN                                   1                 R. KOHN
           2   Mr. Wilkinson's approval?                               2     A. No, but her voice carried a particular
           3    A. I think in today's environment or in the            3   weight.
           4   environment during 2018-ish, I think all of us          4     Q. What weight did it carry?
           5   discussed disciplinary opportunities and actions        5     A. If Maria made recommendations on someone's
           6   with our superiors in conjunction with HR.              6   performance to her manager, her manager considered
           7    Q. So do you know whether Maria Suarez was             7   it.
           8   considered an exempt employee? By exempt employee I     8     Q. How do you know that?
           9   mean someone who was not paid overtime.                 9     A. That is the way the organization works.
          10    A. Yes. She was not paid overtime.                    10     Q. Other than the fact that that is how the
          11    Q. Do you know what factors can be considered in      11   organization works, do you have any other reason to
          12   determining whether or not a person is exempt for      12   believe John Wilkinson was listening to her?
          13   overtime?                                              13     A. Yes. John Wilkinson supported Maria more
          14    A. She managed the inventory control department,      14   than anyone else in the organization.
          15   a recognized department. Her voice was heard and       15     Q. Other than the fact that John Wilkinson
          16   respected if she made recommendations for discipline   16   supported Maria more than anyone else in the
          17   and this group of inventory and cycle counters         17   organization and other than this is the way things
          18   reported to her. She was responsible for them.         18   are generally done, is there any other reason you
          19    Q. So do you know what factors can be considered      19   believe John Wilkinson was taking her
          20   in determining whether an individual is an exempt      20   recommendations to hire and fire people seriously?
          21   executive?                                             21     A. Absolutely. When she asked for an additional
          22    A. I believe I named a few. I believe she also        22   cycle counter at one point in time, John Wilkinson
          23   was more clerical, less physical in her functioning.   23   agreed to hiring an additional cycle counter.
          24    Q. I just want to go through now the factors          24     Q. When was that?
          25   that you believe can be considered in determining      25     A. Sometime during her tenure.


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            1                   R. KOHN                                 1                  R. KOHN
            2    Q. Do you recall when?                                 2   front of us right now.
            3    A. To give you an exact date, I have to refer to       3     Q. When you say there may be, do you know of any
            4   additional documents. I would say sometime within       4   other documents or the existence of any other
            5   her last year to 18 months of employment.               5   documents that would show she had a voice in whether
            6    Q. How do you know she asked for an additional         6   or not new cycle counters were hired?
            7   cycle counter?                                          7     A. At this point in time, I am aware of this
            8    A. I believe it is in the documentation.               8   document before us.
            9    Q. Can you please identify where in the                9     Q. As you sit here today, are you aware of any
           10   documentation it is?                                   10   other document that exists that would suggest
           11           MS. CABRERA: Off the record.                   11   Maria --
           12           (Whereupon, a discussion was held off the      12     A. I don't think any other documents are
           13       record.)                                           13   required. I think this document shows her voice was
           14           (Whereupon, Notes were marked as               14   heard from her manager, and her manager and human
           15       Plaintiff's Exhibit 24, for identification,        15   resources listened to what Maria said and went
           16       as of this date.)                                  16   forward with her recommendation.
           17           (Whereupon, Notes were marked as               17     Q. Other than this document, are you aware of
           18       Plaintiff's Exhibit 25, for identification,        18   any other documents that would suggest she had a
           19       as of this date.)                                  19   voice in whether or not cycle counters were hired?
           20           (Whereupon, Email chain was marked as          20     A. Can we look for the September 2016 counseling
           21       Plaintiff's Exhibit 26, for identification,        21   memo?
           22       as of this date.)                                  22          MS. CABRERA: Is that what you are saying
           23    Q. So I am going to show you what was marked as       23       you need to refresh your recollection?
           24   Plaintiff's Exhibit 26 for identification.             24          THE WITNESS: Yes. I believe it was
           25       Is that the email that suggests that Maria         25       called WMI Administrator Expectation


                                                       Page 38                                                     Page 40
            1                  R. KOHN                                  1                   R. KOHN
            2   could ask for additional cycle counters?                2       Counseling Session.
            3    A. Yes. This is one of them.                           3    A. That would be the only other document I would
            4    Q. Are there any other documents that show             4   anticipate had the request for a cycle counter or
            5   whether or not she would ask for cycle counters?        5   additional support.
            6    A. I believe there was a conversation in               6          MR. MOSER: I believe I found it. 2027,
            7   September 2016 that resulted in a list of discussion    7       2028, and 2029. It may exist in another
            8   points as well, but this one clearly says there was     8       form. I am going to show the witness what is
            9   a need for another cycle counter.                       9       on my screen. We will deem it marked as
           10    Q. Are there any other documents that showed she      10       Plaintiff's Exhibit 27.
           11   had the ability to ask for additional cycle counters   11    Q. Perhaps that is what you are talking about.
           12   to be hired other than this document?                  12   Please feel free to scroll up and down. Why don't
           13    A. I think the purpose of this document was to        13   you read the document beginning on page 2027.
           14   answer a question was her voice heard and did she      14    A. Okay. So this document does not ask for
           15   have authority to promote hiring or termination of     15   another cycle counter, but it does direct her to --
           16   other employees, and I think this corresponds with     16   that she is responsible for the work assignments, to
           17   that conversation showing she met with her boss, she   17   give work assignments and direction to all the cycle
           18   expressed the need for an additional cycle counter,    18   counters, all disciplinary issues, forward them to
           19   and Mr. Wilkinson heard that request and went to HR    19   the day shift manager. This is what we would all
           20   and went forward with it.                              20   do, go to our next level manager with discipline.
           21    Q. Are there any other documents which suggest        21    Q. You are reading from SGWS2028, correct?
           22   she had a voice in asking for additional cycle         22    A. Yes.
           23   counters to be hired, other than this particular       23          MR. MOSER: Can we stipulate for the
           24   document?                                              24       record we will mark the Performance
           25    A. There may be, but this is the one we have in       25       Improvement Plan dated September 22, 2016,


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            1                R. KOHN                                     1                   R. KOHN
            2      which begins on SGWS2027 and ends on SGWS2029         2   time frame, to be aware of what was happening in his
            3      as Exhibit 27.                                        3   example facility.
            4         MS. CABRERA: So stipulated.                        4     Q. So did Maria report to Barry Finkelstein?
            5         (Whereupon, Performance Improvement Plan           5     A. No. Maria reported to John Wilkinson.
            6      9/22/16 was deemed marked as Plaintiff's              6     Q. So Barry Finkelstein was at her level in the
            7      Exhibit 27, for identification, as of this            7   overall structure?
            8      date.)                                                8     A. No. Barry Finkelstein had a more elevated
            9    Q. So I am going to read this into the record.          9   position of responsibility for the entire shift.
           10   It lists under Responsibilities, As the WMI             10     Q. But she did not report to Barry Finkelstein?
           11   administrator, you are responsible for work             11     A. Correct. She reported to John Wilkinson.
           12   assignment and direction to all cycle counters. All     12     Q. It is just that individuals who worked for
           13   disciplinary issues need to be addressed to the day     13   her, she would have to go to Barry Finkelstein to
           14   shift warehouse manager.                                14   address disciplinary issues?
           15       Who was the day shift manager? Was that             15     A. Late 2016 Maria's performance was degrading
           16   Barry Finkelstein?                                      16   to the point where she was put on the pit in January
           17    A. I believe so, yes.                                  17   of '17. When someone's performance is degrading,
           18     Q. Why would she be addressing disciplinary           18   you want to make sure that you listen to their
           19   issues with Barry Finkelstein?                          19   recommendations because you want to have that
           20    A. What was the date of the memo?                      20   checked by someone else in the facility. This
           21    Q. The date of the memo is September 22, 2016.         21   individual, Barry Finkelstein, was the day manager.
           22    A. To express her opinion on the individuals           22     Q. Who made the decision to direct Maria to
           23   that she thought required progressive discipline.       23   address any disciplinary issues with Barry
           24    Q. Was she their manager?                              24   Finkelstein?
           25    A. She was there superior for sure.                    25     A. You just read a memo from John Wilkinson.


                                                              Page 42                                               Page 44
            1                   R. KOHN                                  1                  R. KOHN
            2     Q. Was she their manager?                              2     Q. Yes, but that is not my question.
            3     A. She was the WMI administrator.                      3        My question is: Who made this decision?
            4     Q. Did she have managerial authority over the          4     A. When you operate a facility 24 hours a day,
            5    inventory control clerks?                               5   five to seven days a week, whoever is the highest
            6     A. She was their superior, yes.                        6   person in charge on that shift needs to be aware of
            7     Q. Why would she have to go to someone else for        7   what is going on during that shift. If there was
            8    discipline of employees who worked under her?           8   discipline on a different shift, the facility
            9     A. I think I said earlier we all do that. If I         9   manager of that shift would be informed of something
           10    was going to discipline one of my direct reports, I    10   that happened on his or her shift.
           11    would bring it uphill to my manager.                   11     Q. Who made the decision, and I will read this
           12     Q. That would be voluntary, correct? That is          12   in again, who made the decision that all
           13    something voluntary you do?                            13   disciplinary issues need to be addressed by Barry
           14     A. No. We involve our managers and human              14   Finkelstein when it comes to cycle counters?
           15    resources in all labor issues.                         15     A. Can I see the phrase?
           16     Q. It says here all disciplinary issues need to       16     Q. Sure.
           17    be addressed to the dayshift warehouse manager. It     17     A. By Barry or --
           18    does not mention human resource, right? It just        18     Q. Well, we established it is the mid-shift
           19    says any disciplinary issues need to be addressed by   19   manager. You testified that is Barry Finkelstein,
           20    the day shift warehouse manager, which was Barry       20   so my question is: Who made that decision?
           21    Finkelstein. Why?                                      21     A. Well, first, let me correct that. I think
           22     A. Well, that is John's report.                       22   what you read was, As the WMI administrator, you are
           23     Q. Correct.                                           23   responsible for work assignments and direction to
           24     A. I am sure John wanted the day shift manager,       24   all cycle counters. I believe you said, all
           25    the person responsible for the facility during that    25   disciplinary issues need to be addressed by the day


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            1                   R. KOHN                                 1                  R. KOHN
            2   shift manager. It says to the day shift manager,        2   company through her manager John Wilkinson and
            3   addressed to the day shift manager, letting the         3   through HR Beth Toohig, they wanted to make sure if
            4   person in charge know what is going on during the       4   she was going to recommend something or bring
            5   period of time the facility is under that               5   something forward, it was done properly.
            6   individual's control.                                   6    Q. Was there any documentation of her
            7     Q. So for you there is a difference by and to?        7   mismanagement of any employees?
            8   If someone had used the word by versus to, they         8           MS. CABRERA: Objection.
            9   would signify something different?                      9           You can answer.
           10     A. Of course.                                        10    A. Not that I am aware of.
           11     Q. If we used the word by, what would that           11    Q. Were the cycle counters made aware that
           12   signify to you?                                        12   disciplinary issues needed to be addressed to Barry
           13     A. That is not what it says.                         13   Finkelstein?
           14     Q. I know.                                           14    A. I'm not sure that is relevant.
           15     A. If it said by the day shift manager, the          15           MR. MOSER: Read back the question.
           16   connotation would be the manager is making the         16           (Whereupon, the record was read by the
           17   decision. If it says to the day shift manager, the     17       reporter.)
           18   connotation is you are reporting something, you are    18           MS. CABRERA: I am going to note my
           19   going to discuss it, there is going to be a            19       objection on the record, that that question
           20   collaborative interactive process, and you are going   20       is beyond the 30(b)(6) notice. So the
           21   to come out with a result. The letter says to the      21       witness can answer as a fact witness, but not
           22   day shift manager. That is my understanding.           22       as the corporate rep.
           23     Q. Who made the decision that all disciplinary       23    A. Considering that I would not know whether the
           24   issues needed to be addressed to the day shift         24   inventory control clerks, cycle counters, were made
           25   warehouse manager?                                     25   aware that Maria was asked to discuss discipline


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            1                   R. KOHN                                 1                   R. KOHN
            2     A. If the letter was authored by John Wilkinson,      2   with the shift manager.
            3   I would say John Wilkinson and Beth Toohig, the vice    3     Q. So do you know, as you sit here today,
            4   president of human resources.                           4   whether or not the cycle counters were made aware
            5     Q. Do you know why?                                   5   that all disciplinary issues needed to be addressed
            6     A. I think this was an expectation memo. It was       6   to the day shift manager?
            7   clarifying duties, roles, responsibilities; and I       7     A. I believe I just answered that.
            8   think if the manager and the vice president of human    8     Q. So are you aware whether or not the cycle
            9   resources could help clarify something, that could      9   counters were made aware that all disciplinary
           10   only benefit the employee.                             10   issues needed to be addressed to the day shift
           11           MR. MOSER: Can you read back my                11   warehouse manager who was Barry Finkelstein?
           12       question, please.                                  12     A. No. I am not aware. I believe I said that
           13           (Whereupon, the record was read by the         13   several times.
           14       reporter.)                                         14           MR. MOSER: Let's mark this email chain
           15     Q. Other than what you have stated, is there any     15       as Plaintiff's Exhibit 28 and the Response as
           16   other reason why John Wilkinson and perhaps Beth       16       Exhibit 29.
           17   Toohig decided that with regard to Maria all           17           (Whereupon, Email chain was marked as
           18   disciplinary issues need to be addressed to the day    18       Plaintiff's Exhibit 28, for identification,
           19   shift warehouse manager, who at the time was Barry     19       as of this date.)
           20   Finkelstein?                                           20           (Whereupon, Response was marked as
           21     A. Other than what I have already stated?            21       Plaintiff's Exhibit 29, for identification,
           22     Q. Yes.                                              22       as of this date.)
           23     A. I would assume, I believe, that this was one      23           MR. MOSER: For the record I am showing
           24   of the low points in Maria's performance and as she    24       witness and counsel what has been marked as
           25   was going through her day-to-day activities, the       25       Plaintiff's Exhibit 28 for identification.


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            1                 R. KOHN                                   1                   R. KOHN
            2    A. Okay.                                               2   employees wanting to go to HR to talk to the HR lead
            3    Q. Have you seen this document before today?           3   all while 40 people from across the country are
            4    A. My name is on it from August 2016.                  4   there to train them. One of the bullet points says,
            5    Q. Is this an email chain, an internal email           5   Not sure what to do each day and no one is training
            6   chain, at Southern?                                     6   them. Now, I was there. Kevin Randall was there.
            7    A. Yes.                                                7   Beth Toohig was there. John Wilkinson was there.
            8    Q. Now, when we go to the second page, that says       8   Barry Finkelstein was there and 40 people that were
            9   2258?                                                   9   the top of their grade, top of their class, came to
           10    A. Yes.                                               10   this facility from across America to train them. So
           11    Q. Correct me if I'm wrong, this is from Barry        11   buried in these five bullet points is surely a
           12   Finkelstein. This is an email from Barry               12   little confusion. If one employee does not want to
           13   Finkelstein to Kevin Randall CCing John Wilkinson      13   work from 9:00 to 5:00 and another one says they
           14   and Maria Suarez saying the four inventory team        14   don't know what to do each day, no one is training
           15   members just informed that they are going to HR now.   15   them, no one knows who they report to or if they
           16   They did not share the reason with me.                 16   have a desk in the warehouse, they should be
           17       Do you know why the team members were              17   considered 40-hour workers, i.e., warehouse
           18   informing Barry Finkelstein that they were going to    18   employees and they feel harassed. That was
           19   HR?                                                    19   something the group brought to HR.
           20    A. If I read further, I can decipher that, but        20     Q. Do you know why Barry Finkelstein was the one
           21   the memo is not just to Kevin Randall. It is also      21   who advised HR and everyone else about the fact they
           22   to Elizabeth Toohig. You omitted her name.             22   were going there?
           23    Q. Understood. Yes.                                   23     A. No, I do not.
           24    A. When I read the chain it appears that if they      24     Q. Did he have disciplinary authority over the
           25   have a desk in the warehouse, they want to be          25   inventory control clerks at the time he sent this


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            1                  R. KOHN                                  1                  R. KOHN
            2   considered warehouse workers with a 40-hour week as     2   email?
            3   opposed to clerical workers with a 35-hour week.        3     A. No. This appears they went to him and said
            4    Q. It says here in the middle of page 2257,            4   we would like to go to HR. It doesn't point to
            5   correct me if I'm wrong, this is an email from          5   authority over anyone. This points to he ran the
            6   Elizabeth Toohig to you?                                6   shift. They went to the shift manager and said we
            7    A. You cannot decipher that by the email. It           7   would like to go to HR. They didn't share the
            8   could be to everyone on the email.                      8   reason with me.
            9    Q. Well, I am not saying it is only to you, but        9     Q. Do you know why they went to Barry
           10   was this email sent to you?                            10   Finkelstein with this?
           11    A. It appears that way, yes.                          11     A. No, no. Maybe Maria was not in the building.
           12    Q. Because you responded to it, correct?              12   It is very unclear. This is a snapshot in time.
           13    A. Yes.                                               13     Q. So was Maria supposed to be in the building
           14    Q. Elizabeth Toohig advised you if we look at         14   on August 3, 2016, at 10:33 a.m.?
           15   number 2, no one knows who they report to?             15           MS. CABRERA: Objection.
           16    A. In the email before that when I asked Ms.          16           You can answer.
           17   Toohig what this as about, she came back with five     17     A. Today we would have no idea of knowing
           18   bullet points. So she is restating what they said.     18   whether Maria was in the building on August 3, 2016,
           19    Q. She is saying they don't know who they report      19   at 10:33 a.m.
           20   to, correct?                                           20     Q. Did you clarify in response to this email
           21    A. That is what this says, correct.                   21   from Beth Toohig who the four inventory team members
           22    Q. Did you provide any clarification as in your       22   reported to?
           23   response as to who these individual control clerks     23     A. It was very clear at this time and before,
           24   report to?                                             24   and for a period of time after this, the inventory
           25    A. I think this is a chain that describes             25   control clerks reported to Maria Suarez. It is


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            1                  R. KOHN                                  1                   R. KOHN
            2   abundantly and profoundly clear. Everyone knew they     2    A. There is prescribed progressive discipline
            3   reported to Maria Suarez.                               3   for different tracks. There would be a track for
            4     Q. Except for the inventory clerks themselves?        4   attendance, there could be a track for work rule
            5     A. I disagree with that.                              5   violations, and there are violations that could skip
            6     Q. So you think they were making that up?             6   steps of progressive discipline. There are
            7     A. No. I think there were 40 people in the            7   violations that are cause for immediate termination.
            8   building trying to get people schooled and trained      8           MR. MOSER: We will take a break.
            9   on an new system, and each of those 40 people may       9           (Whereupon, a recess was taken at this
           10   have been communicating with the inventory control     10       time.)
           11   clerks, with other people, with management, with       11           MR. MOSER: For the record we marked
           12   Maria all the way up the chain, and maybe they         12       Plaintiff's Exhibits 24 and 25.
           13   didn't know who to listen to in regards to those 40    13    Q. Can you tell me what these are?
           14   people, not on a daily basis with their direct         14    A. These were notes I reviewed with counsel
           15   report of Maria Suarez.                                15   about the factual basis for the defendant's
           16     Q. On August 4, 2016, there were 40 visits in        16   assertion that the plaintiff was exempt.
           17   the building?                                          17    Q. Did you review any other documents regarding
           18     A. Absolutely. I think I spoke earlier. Any          18   Southern's assertion that the plaintiff was exempt?
           19   time there is a Go Live situation, whether it be       19    A. No.
           20   software, hardware, sortation, conveyer, the company   20    Q. When a manager issues a written warning to an
           21   brings in the experts from across the county to come   21   employee, is the manager supposed to sign it?
           22   in and train people, to shorten the learning curve,    22    A. I think it depends on the form. If it comes
           23   and to get the local site up and running as quickly    23   out in a printed document, it is always good
           24   as possible and to diminish the disruption to the      24   practice for the manager and the employee to sign
           25   marketplace. We don't want our customers to suffer     25   the form.


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            1                   R. KOHN                                 1                   R. KOHN
            2   if we are going to go through a software transition.    2     Q. Now, if we go back to the last exhibit, which
            3   So if one of the statements was they don't know who     3   is Exhibit 28, does it look like the inventory
            4   they report to, it might be because there were a lot    4   department is doing their job?
            5   of people there all teaching them something at the      5     A. I don't think that can be deciphered from
            6   same time.                                              6   this particular document.
            7     Q. So it is just coincidence that Barry               7     Q. I am going to read the first couple of
            8   Finkelstein, who had disciplinary authority over the    8   sentences. Their direction is very clear. They are
            9   inventory team members in late 2016, advised HR that    9   to reconcile WMI to Sapphire daily. They are doing
           10   they were actually going to HR?                        10   very little. In three hours yesterday, Justin
           11           MS. CABRERA: Objection.                        11   counted two items then went to his office.
           12           You can answer.                                12       So from that you cannot determine whether or
           13     A. It appears that Barry notified his manager        13   not they were doing their jobs?
           14   Kevin Randall and Beth Toohig, the VP of HR, that      14     A. I apologize. I thought when you asked were
           15   the cycle counters were coming now. So he followed     15   they doing their job, were they doing their job by
           16   the chain of command and told his manager and          16   notifying someone they wanted to go to HR. No.
           17   included HR because apparently they were on the way.   17   Absolutely. And for me to respond to this email at
           18   They didn't share the reason.                          18   9:00 at night -- oh, 8:00 in the morning. I think
           19     Q. Now, what are the steps for disciplining a        19   word for word the direction is clear, they are doing
           20   union employee, let's say, someone who is a member     20   very little. In three hours if someone counted two
           21   of Local 1, at the Syosset facility?                   21   items, that is an issue. That is clearly an issue.
           22           MS. CABRERA: I just want to note my            22     Q. Did the inventory department continue to have
           23       objection. This is beyond the 30(b)(6)             23   performance issues for some period of time after the
           24       notice. So the witness can testify as a fact       24   implementation of WMI?
           25       witness.                                           25     A. When you say inventory department, do you


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            1                  R. KOHN                                  1                  R. KOHN
            2   mean the counters?                                      2   have been asked why something was not reconciled.
            3    Q. Yes. The cycle counters.                            3   On a daily basis, it was Maria's goal to balance the
            4    A. I think this is extreme. I think two items          4   inventory between Sapphire and WMI. She had a staff
            5   in three hours is extreme.                              5   that did that work. She assigned the tasks required
            6    Q. I know this is an extreme example, but after        6   to get that completed.
            7   this did they continue to have performance issues,      7     Q. Are there any documents which actually show
            8   the cycle counters?                                     8   her actually assigning work to these individuals?
            9    A. For some time, yes.                                 9     A. Daily work product?
           10    Q. Are there any documents -- I know we have          10     Q. Where are those records?
           11   other documents actually describing Maria's role --    11     A. No. I am asking. You are looking for daily
           12   are there any documents which shows that she           12   work product?
           13   actually counseled one of the inventory control        13     Q. I am looking for any document which actually
           14   clerks?                                                14   shows that she assigned work?
           15    A. That the company counseled or I counseled.         15     A. You are asking for a document that would have
           16    Q. Are there any documents that show that Maria       16   likely been discarded by the counter after they
           17   counseled one of the inventory control clerks?         17   completed the assignment.
           18    A. I have not seen any in preparing for               18     Q. So after the counter discarded the
           19   deposition.                                            19   assignment, there would be no record that Maria had
           20    Q. Are there any documents in existence which         20   assigned the work to them?
           21   show Maria counseled any of the inventory control      21     A. Each day Maria had a group of tasks that
           22   clerks during the period of time she was the WMI       22   needed to be completed. From the time inventory
           23   administrator?                                         23   came into the building, it had to be received
           24    A. I have not seen any in preparing for the           24   properly. When it was transferred around the
           25   deposition.                                            25   building, it had to be transferred properly from and


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            1                  R. KOHN                                  1                   R. KOHN
            2     Q. Do you know whether any exist?                     2   to locations. When orders were consolidated at
            3     A. I have not seen any in preparing for the           3   night, inventory needed to be transferred to the
            4   deposition.                                             4   pick lines to be shipped. If orders were delivered
            5     Q. Do you know if any exist?                          5   and they came back from the return stock, inventory
            6     A. I would not know. I have not seen any in           6   would have to be transferred back into a location.
            7   preparing for the deposition.                           7   All of that was handled by Maria and her team. So
            8     Q. Are there any documents that show that she         8   if there are thousands of transactions a day, it
            9   was actually assigning them the work. I am not          9   would be very unlikely that someone would have a
           10   talking about second-hand documents, which relay the   10   piece of paper from five years ago that pointed to
           11   fact that she should be assigning work. I mean,        11   what their tasks were for that particular day or
           12   documents which actually show that she was assigning   12   hour or shift.
           13   work to the cycle counters?                            13           MR. MOSER: Can you read back the
           14     A. Maria assigned work to the cycle counters         14        question, please.
           15   while she was the warehouse inventory manager in a     15           (Whereupon, the record was read by the
           16   manual system and after she became the WMI             16        reporter.)
           17   administrator. It was her job to assign work to the    17     A. Well, I can give you an example. Pre-WMI,
           18   counters.                                              18   during physical inventories, people went out and
           19     Q. Are there any documents that actually show,       19   counted locations manually pre-WMI. Maria would
           20   Listen, I am telling Maria, I am telling you,          20   give dock count sheets to cycle counters that would
           21   Justin, to do this? Anything that shows she gave       21   go out and count that location or a series or
           22   direction to Justin Vey?                               22   locations. It is improbable that those documents
           23     A. As their superior, their manager, she             23   have been maintained for five or six years. You are
           24   assigned work to them on a daily basis. It may have    24   asking for pieces of paper that are daily work
           25   been a form that said go count these items. It may     25   product, and that would not be saved under any


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            2   circumstances. Maria directed the work force on a       2     A. Maria was responsible for the cycle counters.
            3   daily basis, assigned all of their work from the        3   The cycle counters reported to Maria. Maria
            4   moment they came in until the moment they left.         4   assigned them work and they completed the work that
            5   What was not completed stayed in the queue so Maria     5   she assigned to them.
            6   can assign the leftover work and any new work the       6     Q. Is there any record of the actual work she
            7   following morning.                                      7   assigned to them as the WMI administrator?
            8    Q. So once the cycle counters discarded the            8     A. When she was the WMI administrator everything
            9   paperwork that was given to them, would there be any    9   was scanned. If they went to the cycle counter
           10   record that Maria had actually delegated them work?    10   location or a series of locations, they would have
           11    A. Forgive me, but I believe you are insinuating      11   scanned into that location, entered the count,
           12   Maria did not assign them work.                        12   closed out the location and their quotes,
           13    Q. No. I am asking a question, whether you take       13   fingerprints would have been attached to that
           14   that to mean something else, I am asking a very        14   reconciled item. So as they were directed to
           15   simple question.                                       15   complete work, yes. Systematically, every move they
           16       My simple question is: Once those cycle            16   made, everything that was touched, everything that
           17   counters discarded the piece of paper, was there any   17   was transferred, everything that was moved forward,
           18   direct evidence that Maria had delegated work to       18   would have had a fingerprint of the cycle counters.
           19   them?                                                  19     Q. Would it have a fingerprint showing that
           20           MS. CABRERA: Objection. I'm sorry.             20   Maria had given them the work to do?
           21       Before you kept saying if there were any           21     A. No, but they would not have had the work on
           22       documents. Now you are saying is there             22   their own. The work would not have mysteriously
           23       direct evidence.                                   23   appeared for them. They would have had to have been
           24           MR. MOSER: Okay.                               24   assigned the work.
           25    Q. Once they discarded these assignments that         25     Q. Is there any record other than the fact that


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            2   were given to them, were there any documents which      2   work was actually done? You are saying that the
            3   would show that she had, in fact, assigned them         3   fact that they actually did work is evidence that
            4   work?                                                   4   Maria was directing it. Are there any documents,
            5     A. Every one has a boss. If my boss gave me a         5   which would show that Maria was the one who told
            6   directive to do something and I completed the           6   them to do it or directed them to do it?
            7   assignment, I would not keep a journal or a log or      7    A. Maria was their superior. She assigned them
            8   that directive on a piece of paper for some future      8   the work.
            9   time. If Maria told the cycle counters to complete      9    Q. Are there any documents which would show
           10   a task and they were directed to complete the task,    10   Maria was the one actually telling these individuals
           11   their role and their job was to go complete that       11   to do this or giving them instructions?
           12   task. There would not be a need to document that or    12    A. Direction from the WMI administrator to the
           13   save that for some future point in time.               13   cycle counters wouldn't have come in a document.
           14     Q. Have you reviewed all the documents that were     14    Q. So there would be no document?
           15   provided by Southern, generally?                       15    A. There would be no document.
           16     A. Yes.                                              16    Q. So there are no documents which actually
           17     Q. Did you ever see any document showing that        17   document Maria was assigning work to the cycle
           18   Maria in any way was exercising authority over the     18   counters?
           19   cycling counters?                                      19    A. Maria was assigning work to the cycle
           20           MS. CABRERA: Objection. Again, this is         20   counters.
           21       beyond the 30(b)(6) notice. So the witness         21    Q. Well, I know she was, but there are no
           22       can answer it as a fact witness but not in         22   documents that actually show the specific work that
           23       connection with his preparation or any of the      23   she was assigning them?
           24       topics for the 30(b)(6) as this is not one of      24    A. Maria had a list of tasks that needed to get
           25       the topics.                                        25   completed each day. They didn't get completed on


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            2   their own. The cycle counters didn't decide they        2   administrator position that Maria was given?
            3   were going to jump in and do things without being       3     A. It appears so, yes.
            4   told. I am glad you said that you agree Maria           4     Q. Do you see on here where it says she has
            5   assigned the tasks.                                     5   authority over cycle counters or inventory control
            6    Q. No. A agreeing to that is what you said.            6   clerks?
            7    A. Oh, that is not what I heard.                       7     A. I see it says candidate will assist, operate,
            8    Q. Oh, I am agreeing that you said she assigned        8   train, oversee and analyze the functions to achieve
            9   the tasks.                                              9   objectives, ensure smooth startup and transition by
           10       What I am trying to get at is: Are there any       10   leadership and training. I see it says assist in
           11   documents which show that she was giving them work     11   the development of warehouse process, provide
           12   to do?                                                 12   leadership direction to the team, provide training
           13    A. It would not be something that would be            13   for the employees, implement operation continuous
           14   documented for future use.                             14   improvements measurements and initiatives, organize
           15    Q. There's no documents showing whether or not        15   and manage work effectively and efficiently amongst
           16   she counseled any of the employees?                    16   her team members, support and train internal
           17          MS. CABRERA: Objection.                         17   customers, that's her team, provide leadership and
           18    Q. Are there any documents that show that she         18   management, develop and encourage excellence within
           19   counseled any employee during the time period she      19   the team, train and develop a high performing team,
           20   was WMI administrator?                                 20   manage to get work done and develop others,
           21    A. I am not aware of any. However, she could          21   adherence to performance management objectives,
           22   have done that with the HR group, with her manager.    22   ability to build a high performing team, ability to
           23    Q. So she could have done it that way, but are        23   accept and lead change, ability to influence others.
           24   there any documents which show that she was involved   24   These are all attributes of a leader or a manager,
           25   in the counseling of any of the members of the         25   people that lead other people, that are responsible


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            1                 R. KOHN                                   1                  R. KOHN
            2   inventory control department during the time she was    2   for other people, and in the hierarchy, the
            3   WMI administrator?                                      3   inventory control clerks reported to Maria Suarez.
            4    A. Not that I have seen in preparing for today's       4    Q. So we have the hierarchy and that was
            5   deposition.                                             5   prepared by Southern, correct?
            6    Q. Do you know whether those documents ever            6    A. If that's a question, yes.
            7   existed?                                                7    Q. Who determined the hours of work of the
            8    A. I have not seen any in preparing for today's        8   inventory control team?
            9   deposition.                                             9    A. The counters. The counters can only work
           10    Q. Do you know whether those documents exist?         10   effectively during non-production times. When the
           11    A. No. I have not seen any.                           11   company goes into production, we are actually
           12    Q. So is there any document which shows that          12   picking and shipping cases. It is ineffective to
           13   Maria was involved in the discipline of any employee   13   cycle count. So the hours by default would be more
           14   during the time she was WMI administrator?             14   daytime hours than anything else.
           15          MS. CABRERA: Objection.                         15    Q. If any one of the cycle counters had to work
           16    A. I am not aware.                                    16   overtime or after their scheduled time of work, who
           17    Q. So does her job description say she had            17   told them, and I am talking about the time period
           18   supervisory authority over the inventory control       18   Maria was WMI administrator?
           19   clerks or cycle counters, as they are called?          19    A. Maria would have conveyed they needed to work
           20    A. I believe it says, yes, that she assigned          20   additional time.
           21   them work.                                             21    Q. So Maria had the authority to tell them to
           22    Q. I am going to show you what was previously         22   work overtime?
           23   marked as Plaintiff's Exhibit 3 for identification.    23    A. Yes. She might have discussed it with John
           24    A. Yes.                                               24   Wilkinson because when we go back to an earlier
           25    Q. Is this the job description for the WMI            25   document 2257 that we discussed, we did have a cycle


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            1                   R. KOHN                                 1                 R. KOHN
            2   counter that counted two items in three hours, which    2   likely could have said, John, I need to work the
            3   is a blatant disregard for anything. So if that         3   crew this weekend or tonight or tomorrow.
            4   continued or that was prevalent, that is going to be    4     Q. You were not there for those conversations?
            5   highlighted to management, and although Maria would     5     A. No.
            6   have said we need you to count more, management,        6     Q. So you don't know if those conversations even
            7   quote/unquote, might have interceded and said, We       7   happened?
            8   need more hours. We need different hours. We need       8     A. Correct, but I also know those conversations
            9   weekend hours.                                          9   must have happened, but because they are not reduced
           10     Q. Who would have been the one to decide whether     10   to writing you want to suggest that they didn't
           11   these individuals would have to work weekend hours     11   exist.
           12   or extra hours?                                        12     Q. I am not suggesting one way or the other. I
           13     A. It would have been a conversation between         13   am just trying to get an answer as to whether there
           14   Maria and, likely, John Wilkinson, her manager.        14   is any documentation, emails, anything showing that
           15     Q. Are there any documents which show that Maria     15   Maria was directing cycle counters to work extra
           16   directed these employees to work extra hours while     16   hours?
           17   she was WMI administrator?                             17     A. It would not be probable that a manager of
           18     A. I don't know if those items would be              18   people would email them to request them to work
           19   documented. It would be more of a conversation.        19   overtime. It would not be likely there would be a
           20     Q. Are there any documents that you are aware of     20   documentation. If the union cycle counters were
           21   that she directed cycle counters to work extra hours   21   asked to work overtime, they were asked to work
           22   or weekends while she was WMI administrator?           22   overtime. If they were mandated to work overtime,
           23     A. I don't think that would be something that        23   they were mandated to work overtime.
           24   was reduced to writing.                                24     Q. My question is a little bit broader. Are
           25     Q. So those records would not exist?                 25   there any emails between Maria an anyone at Southern


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            1                  R. KOHN                                  1                 R. KOHN
            2     A. They were most likely conversational. There        2   documenting her ability to ask cycle counters to
            3   would be no need to write an email or a letter to       3   work extra hours or weekends?
            4   one of your reports to say, I need you to work          4    A. I am not aware of any emails.
            5   overtime. These were union employees that would         5    Q. Did she ever ask John Wilkinson in writing
            6   have been asked to work as directed.                    6   for approval to schedule extra hours or weekends for
            7     Q. Would Maria have to get approval from payroll      7   cycle counters?
            8   in order to direct employees to work overtime?          8    A. It is possible.
            9     A. From payroll, no. From her manager, perhaps.       9    Q. Where are those records? I know it is
           10     Q. Could she on her own direct these employees       10   possible --
           11   to work 80-hour weeks?                                 11    A. You asked a hypothetical question, and I am
           12     A. I think 80 hours is extreme.                      12   giving an answer of it is possible that she asked
           13     Q. On her own could she have assigned these          13   John Wilkinson to allow the cycle counters to work
           14   individuals to work 80 hours a workweek and leave      14   additional hours.
           15   Southern with the bill?                                15    Q. Where would those records exist?
           16     A. As I said earlier, we all have a boss, and it     16    A. You asked for a data pull of emails.
           17   is quite regular to popularize those concepts with     17   Southern had an Ediscovery team that provided you
           18   your boss. So if she wanted to work her crew of        18   with emails from a group of people. I would suggest
           19   inventory counters 80 hours a week, she would likely   19   they would in that data dump.
           20   have discussed it with her boss.                       20    Q. So if there were any instances in which Maria
           21     Q. Are there any emails between Maria and            21   had communicated with John Wilkinson regarding the
           22   anything at Southern in which she asked permission     22   supervision of her team, those would have been
           23   to assign extra hours?                                 23   produced?
           24     A. It likely would have been conversational.         24    A. If they met the criteria of what you request,
           25   She saw her boss every day, John Wilkinson. She        25   yes.


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            1                  R. KOHN                                  1                  R. KOHN
            2    Q. Did she communicate at all with John                2    A. You asked me to look at the job description,
            3   Wilkinson about the management or supervision of her    3   and I think the job description points to Maria
            4   team in writing?                                        4   managed the group of people.
            5    A. She could have. Again, I think that is a            5    Q. Other than that job description, is there any
            6   hypothetical question.                                  6   other documentation which would show she was
            7    Q. Southern is the one that is claiming she had        7   assigning extra hours or weekends or had the
            8   this authority. My question is: Are there any           8   authority to assign extra hours or weekends to cycle
            9   documents in terms of written communications between    9   counters?
           10   her and John Wilkinson showing she had this            10    A. I have not seen any documents preparing for
           11   authority?                                             11   the deposition, but I don't think a document is
           12    A. The authority to work her group overtime?          12   required for Maria to complete the tasks that were
           13    Q. Correct.                                           13   given to her when she took the job.
           14    A. I don't think she needed a document to have        14    Q. So you can simply say what she was doing, and
           15   her associates work overtime.                          15   that is good enough?
           16          MR. MOSER: Can you read back the                16           MS. CABRERA: Objection.
           17       question.                                          17    A. Maria was their manager.
           18          (Whereupon, the record was read by the          18    Q. When someone wanted to take a day off, a
           19       reporter.)                                         19   personal day, they had to get their manager's
           20    Q. Are there any documents that would show that       20   approval, right?
           21   she actually was assigning extra hours of work or      21    A. The union requirements are you give a certain
           22   weekend work to her staff?                             22   amount of notice.
           23    A. There could be.                                    23    Q. The cycle counters, did they ever take a day
           24    Q. Well --                                            24   off while Maria was the WMI administrator?
           25    A. In the course of a normal day's business, and      25    A. I am sure.


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            1                  R. KOHN                                  1                  R. KOHN
            2   I will give a for example, if one of the cycle          2     Q. Who did they give notice to?
            3   counters didn't come in on a particular day, the        3     A. Likely to Maria.
            4   rest of them may not have been able to finish the       4     Q. Did they give notice in writing? They were
            5   required tasks. Maria may have said, I need the         5   required to give it in writing, weren't they?
            6   rest of you to work overtime to cover for the person    6          MS. CABRERA: Objection. Are you going
            7   that is not here.                                       7       to ask a question?
            8     Q. Okay. But --                                       8     Q. Were they required to give it in writing?
            9     A. And if we were going to prepare for a              9     A. No. I believe they are required to give
           10   physical inventory and we needed to get the facility   10   48-hour notice for a PTO day or to schedule a
           11   prepared, she might have said, I need you to work      11   vacation.
           12   additional hours. If she shared that with her boss     12     Q. Would the manager's responsibility be to
           13   verbally or in writing, this is a close group of       13   advise payroll that that individual was taking paid
           14   people that work together every day. It would be       14   time off?
           15   unlikely for Maria to have to go to John Wilkinson     15     A. Sure.
           16   on an everyday basis and ask to allow her group to     16     Q. Are there any emails between Maria and anyone
           17   work overtime. Did she go to him on occasion, that     17   at Southern regarding any PTO days that were taken
           18   is probable as well, as a notification, as a           18   by any cycle counters during the period of time she
           19   conversation because she had a manager and the cycle   19   was the WMI administrator?
           20   counters have managers and I have a manager.           20     A. Were there emails from Maria to whom?
           21     Q. I am not talking about what you believe           21     Q. To anyone at Southern.
           22   happened, okay? I am asking whether there are any      22     A. I don't think it would come in the form of an
           23   documents that show Maria was involved in the          23   email.
           24   assignment of extra hours or weekends to inventory     24     Q. What would it come in the form of?
           25   clerks while she was the WMI administrator?            25     A. A personnel action form. An absenteeism


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            1                   R. KOHN                                 1                  R. KOHN
            2   form. It could have been a form that Maria filled       2    A. That is correct.
            3   out or the cycle counter filled out. That was           3    Q. Where are the requests for PTO days that she
            4   passed on to payroll either directly or through         4   approved?
            5   shift manager.                                          5    A. They would not be saved. You are talking
            6    Q. Are there any emails between Maria and anyone       6   about something that occurred five years ago?
            7   at Southern regarding PTO days taken by cycle           7    Q. Yes.
            8   counters during the time period she was the WMI         8    A. There would not be a requirement to save
            9   administrator?                                          9   those forms.
           10    A. I don't think they would come in the form of       10    Q. When someone takes vacation, do they also
           11   an email.                                              11   need approval from their manager?
           12    Q. So you don't think any such email exists?          12    A. Yes.
           13    A. If an employee wanted a day off, they would        13    Q. Was Maria involved in the approval of
           14   tell their boss. They would likely fill out a form,    14   vacation time for cycle counters?
           15   or the boss would fill out the form, and it would go   15    A. I am sure she was.
           16   to payroll. There would not be an email. There         16    Q. Was any of that involvement documented in any
           17   could be.                                              17   way?
           18    Q. Did the boss have to sign the form?                18    A. They would have been on the same attendance
           19    A. No. I believe the employee signs the form.         19   forms that PTO time would have been on.
           20    Q. And the supervisor does not sign the form?         20    Q. Would any of those documents have been saved?
           21    A. I think it has to be approved.                     21    A. No. It is very unlikely they would be saved
           22    Q. It has to be approved by the supervisor,           22   this many years later.
           23   correct?                                               23    Q. So we have Maria's job description in front
           24    A. By their report, yes.                              24   of us, correct?
           25    Q. It also has to be approved by payroll,             25    A. Yes.


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            1                  R. KOHN                                  1                  R. KOHN
            2   correct?                                                2     Q. And we have Exhibit 28, correct? Are there
            3     A. Approved by payroll, no. Payroll is the            3   any documents which you can think of that actually
            4   department who pays people.                             4   exist today, which show that she was managing her
            5     Q. Who approved the request for PTO days for          5   staff, and I say firsthand documents, documents that
            6   cycle counters who took days off during the period      6   were generated at the time which she would have
            7   that Maria was WMI administrator?                       7   created or someone else at Southern would have
            8     A. Likely Maria. It could have been John              8   created showing that she was actually exercising
            9   Wilkinson in her absence. If we were preparing for      9   this authority at the time?
           10   visitors or a cleanup or a scrubbing, that's the       10     A. The nature of Maria's job required her to
           11   period before an inventory or if there were other      11   assign work and hold the inventory control
           12   people out, it might have went to a different level    12   clerks/cycle counter accountable for certain tasks.
           13   of management.                                         13   I don't have those documents today, five years
           14     Q. Do you know whether Maria approved any PTO        14   later. You asked for daily worksheets, transfer
           15   days for cycle counters during the period of time      15   documents. Those wouldn't exist. Maria assigned
           16   she was WMI administrator?                             16   work to a group of people. She ran the functional
           17     A. I would assume so, yes.                           17   department, the WMI department. It is very clear
           18     Q. I don't want you to assume. I am asking you,      18   that Maria assigned work and managed this group of
           19   if you know?                                           19   people on a daily basis.
           20     A. Personally, I don't know. Her position was a      20     Q. Clear based upon on what?
           21   functional one where she had reports, and I would      21     A. Clear based on that was her job description
           22   assume she --                                          22   and her role and other people did not assign work,
           23     Q. It is unlikely that a group of four employees     23   did not do Maria's job for her. She was the person
           24   would not take a PTO day off in a year or a two,       24   that spoke to her group of people, to her cycle
           25   correct?                                               25   counters.


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            1                  R. KOHN                                  1                   R. KOHN
            2     Q. We have her job description. What about            2   emails. To have a portal where people can go and
            3   documents other than the job description? Are there     3   approve positions.
            4   any other documents that show or document the work      4    Q. Would an individual's manager have to approve
            5   that she was doing as a manager?                        5   them for hiring before they were hired?
            6     A. Yeah. I think in her corrective action, I          6    A. Could you repeat that?
            7   think there were a litany of items that she was held    7    Q. Would a perspective applicant's manager have
            8   accountable for, that she was reminded were her         8   to approve their hiring before they were hired?
            9   tasks and they were all supporting the fact that she    9    A. Depending on the position, sure. As I said
           10   managed this group of people.                          10   earlier, we all have a boss. If I wanted to hire a
           11     Q. Are there any documents which show her actual     11   subordinate, I would likely tell my boss what I was
           12   exercising managerial authority over this group of     12   doing.
           13   people?                                                13    Q. But the subordinate has to work with their
           14     A. You wrote down no. Does that mean you are         14   manager, right, and be able to take direction from
           15   anticipating I am going to answer no.                  15   their manager?
           16           MS. CABRERA: Just answer the question.         16    A. Yeah.
           17     A. I am not aware of any documents.                  17    Q. So the manager in the whole hiring process
           18     Q. Southern has the burden of proof with regard      18   actually interviews that perspective employee; is
           19   to this issue. They are the ones that have to          19   that fair to say?
           20   approve that Maria was an exempt manager.              20    A. I'm not sure what you are saying the manager?
           21           MS. CABRERA: Is that question? Are you         21   Which person is that?
           22       making a statement? Documents are not the          22    Q. The person they report to. Their direct
           23       only way to prove something, right? That is        23   report?
           24       not the only form of evidence that there is        24           MS. CABRERA: Objection.
           25       if we are going to have this discussion on         25    A. I am not clear on the question. If I wanted


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            1                  R. KOHN                                  1                 R. KOHN
            2       the record right now in front of the witness        2   to hire a subordinate, you are asking me would my
            3       right now if you want to go there.                  3   boss have to interview them?
            4     Q. So how would Maria assign work in WMI to the       4    Q. No. Would you have to interview them?
            5   cycle counters?                                         5    A. Sometimes, yes. Sometimes, no.
            6     A. Every day there would be a number of tasks         6    Q. Would you have to approve them?
            7   that had to completed.                                  7    A. They are going to report to me?
            8     Q. Would she assign it in the computer or would       8    Q. Yes.
            9   she hand them documents? How would she do it?           9    A. Sometimes, yes. Sometimes, no. Depending on
           10     A. It could be both.                                 10   the role.
           11     Q. When we look at Plaintiff's Exhibit 3, do you     11    Q. So other people can hire individuals who will
           12   recognize that document? I know you reviewed it        12   work for you and report to you without your
           13   earlier, but the first page it appears to be           13   approval?
           14   something that was generated by a computer. I am       14    A. No. I am going to put this in my tense
           15   asking if you recognize that document?                 15   because I don't understand when you are saying the
           16     A. Yes. I recognize the entire document.             16   word manager. If I wanted to hire someone, I could
           17     Q. What is on this first page? What does that        17   go to my HR department and say I would like X, find
           18   show?                                                  18   me this candidate. You are asking me would I have
           19     A. A chronological listing of a requisition that     19   to approve that?
           20   was posted and eventually filled.                      20    Q. No. Would you have to approve the hiring of
           21     Q. Is this an electronic recording of the hiring     21   the individual who is ultimately selected to work
           22   process?                                               22   for you?
           23     A. Yes. I think this is called Taleo. It might       23    A. Again, it depends. It does depend. If I
           24   go by some other names. But, yes, it eases the         24   needed to go hire an accountant, I am not qualified
           25   flow, the responsibility flow rather than sending 12   25   to hire an accountant. If I asked my HR department


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            1                  R. KOHN                                  1                  R. KOHN
            2   or a corporate recruiter to hire me an accountant, I    2   document. I am talking about any document.
            3   would not really need to approve that or bless that     3           MS. CABRERA: Well, objection. You have
            4   because that is not my skill set.                       4       asked about this document and then you have
            5     Q. On this, your approval was required for            5       also asked about in general the process, so
            6   hiring Maria as WMI administrator, correct?             6       that is why I am objecting.
            7     A. Sure, as was my superior Larry Goodrich; as        7           MR. MOSER: Well, he is making reference
            8   was HR, Beth Toohig; as was Kevin Randall, my           8       to sometimes an individual --
            9   subordinate.                                            9           MS. CABRERA: Well, he is making the
           10     Q. Did she report to John Wilkinson?                 10       comparison because you are drawing the
           11     A. Did who report to John Wilkinson. I'm sorry?      11       comparison.
           12     Q. Did Maria report to John Wilkinson?               12    Q. Are you saying that John Wilkinson was
           13     A. Yes.                                              13   involved in the hiring of Maria for the WMI
           14     Q. Is there a particular reason why his approval     14   administrator but his involvement was not
           15   was not requested?                                     15   documented?
           16     A. Kevin owns the financials for Metro New York.     16    A. That's possible. You are looking at a
           17   I own them for New York. Beth Toohig managed head      17   hierarchy of approvals in a portal. This does not
           18   count. Larry Goodrich was the executive VP general     18   say who interviewed them. This also doesn't say who
           19   manager, the equivalent of a state president. So       19   didn't interview. This is approving head count and
           20   from Kevin up there was an approval process. This      20   the financial ramifications of hiring someone from
           21   does not say why Maria or John are not listed on       21   HR to the site leader Kevin Randall. I am his
           22   this paper. I do not see anything by their names       22   superior. Beth Toohig was Dina's superior, and
           23   not appearing here.                                    23   Larry Goodrich was the equivalent of the state
           24     Q. Are there any documents that would show that      24   president.
           25   Maria interviewed any perspective candidates for the   25    Q. Did John Wilkinson weigh in at all on whether


                                                       Page 86                                                    Page 88
            1                  R. KOHN                                  1                  R. KOHN
            2   time period she was WMI administrator?                  2   Maria was suitable for this position?
            3     A. Are there documents? Beth Toohig was the HR        3     A. For the WMI administrator role?
            4   VP at the time. I would say if Maria was part of        4     Q. Correct.
            5   the interview process, she did it in conjunction        5     A. Yes. Kevin selected Maria. She was
            6   with HR or with Dina.                                   6   qualified for the role. She interviewed for the
            7     Q. Are there any documents that would show that       7   role. Kevin spoke to John, and Maria was hired.
            8   Maria was part of the interview process for any         8     Q. What about documents showing that
            9   employee during the period of time she was WMI          9   behind-the-scenes process of considering Maria for
           10   administrator?                                         10   this position? Are there any documents that show
           11     A. Again, I don't know if documents would be         11   communications between anyone at Southern regarding
           12   preserved. If Maria wanted to hire a cycle counter     12   why Maria was considered for this position or why
           13   and interviewed the cycle counter with HR or with      13   Maria was hired for this position?
           14   John or with Kevin or any combination, I don't think   14     A. Maria applied for the role and she was hired.
           15   there would be a document that says I participated     15   I believe there were 12 people that applied for the
           16   in that interview.                                     16   role. More than ten. Maria applied for the role.
           17     Q. So her involvement in the entire process          17   She wasn't selected. The company didn't say, You
           18   would be undocumented?                                 18   win. She applied for the job and she was selected.
           19           MS. CABRERA: Objection.                        19   She would report in the new role to her same
           20     A. As was John Wilkinson's. His name is also         20   manager, John Wilkinson. Most all of her duties
           21   omitted from this. They surely could have been         21   would be consistent with what they were in the
           22   involved in the process. This is only recording        22   manual environment with the exception of the
           23   likely the financial portion of this, who owns the     23   scanning, the actual software that we call the WMI,
           24   budget.                                                24   the warehouse management integration system.
           25     Q. I am not talking about this specific              25     Q. Are there any documents showing the reasons


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            1                  R. KOHN                                 1                   R. KOHN
            2   why Maria was selected for this position?              2   compares the 10 or 12 applicants highlighting why
            3    A. I don't think there would need to be               3   Maria got the role.
            4   documents. There were a handful, a dozen people        4    Q. Or explaining in any other way why Maria was
            5   that applied. She applied and she was selected         5   ultimately selected for this role?
            6   because the new role, the WMI administrator, again,    6    A. Only that what I just stated. That it was a
            7   reported to John Wilkinson, her common boss. The       7   common manager, she was the incumbent in the manual
            8   tasks involved in this WMI role were identical with    8   system, that this position would have common duties
            9   the exception of the scanning versus the manual        9   with the exception of the scanning.
           10   application of the perpetual inventory from the       10    Q. Well, these are the reasons why you are
           11   past.                                                 11   saying why she was given this role.
           12    Q. My question is not whether there would need       12       My question is whether there were any
           13   to be documents.                                      13   documents showing the reasons why she was given this
           14       My question is: Are there any documents           14   role?
           15   which show the reasons why Maria was selected for     15    A. I don't know if there are any documents that
           16   the WMI administrator position?                       16   exist, but she applied for a role and was given a
           17    A. I could give you all the reasons I believe        17   promotion. This was not degrading her salary. This
           18   she was selected, including she applies for the       18   was not limiting her upward mobility. This was a
           19   role. I wouldn't think there would be something in    19   promotion that got her more money and more
           20   writing after the fact, with 10 or 12 applicants. I   20   responsibility. This was a positive. It was a good
           21   think John or Kevin Randall sat with HR or Dina       21   thing for Maria.
           22   Margolis and said of the 12 people, this is who we    22    Q. So although her role remained the same, you
           23   would like to offer the position to. It would be      23   believe that her job description, which is on
           24   unlikely there would be a matrix up.                  24   Plaintiff's 3, accurately describes her role as WMI
           25    Q. So there is not a single document that would      25   administrator?


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            1                  R. KOHN                                 1                   R. KOHN
            2   have been generated regarding the reasons why Maria    2     A. The WMI administrator role differed from her
            3   was selected for this position?                        3   pre WMI administrator role mainly by the manner in
            4     A. There could have been a document. You are         4   which she worked and her inventory control
            5   asking me if there is a single document. I am not      5   department worked. They no longer worked with a
            6   aware of any documents that compared the highlights    6   manual system with pencil and paper. They worked
            7   or the pros and cons of the 12 applicants and why      7   with computers.
            8   Maria was chosen. Maria had the equivalent role in     8     Q. Who interviewed the cycle counter that was
            9   our manual system. When we transferred the             9   hired?
           10   warehouse from a manual operation to an operation     10     A. I would say Maria, John, perhaps Kevin
           11   that included WMI and scanning, Maria would have      11   Randall.
           12   been the incumbent, the natural fit. She applied      12     Q. When you say you would say, do you know who
           13   for the role and she was given the role. With the     13   interviewed the cycle counter?
           14   role came a pay increase; it came with more           14     A. No. I would assume, I believe it would be
           15   responsibility. She was given an additional cycle     15   Maria, John, and Kevin Randall. The cycle counter
           16   counter, I think, at the time. She asked that the     16   positions, the inventory control positions are
           17   department be increased, and there was a cycle        17   critical to the company. They safeguard the
           18   counter added as soon as she took the role, and it    18   inventory. If our perpetual inventory is incorrect
           19   made sense for Maria to slide into that role. You     19   or off, we will not only disappoint our customers
           20   are asking for is there a document that says that.    20   and may not have the goods they want when they order
           21   I don't think there was one required.                 21   it, but there is a financial ramification to not
           22     Q. Or that one was actually created?                22   being able to locate inventory --
           23     A. I can't speak to if one was actually created.    23     Q. As you sit here today, do you know whether
           24     Q. How about whether one exists today?              24   Maria interviewed that cycle counter that was hired?
           25     A. I am not aware a document that exists that       25     A. Next time I will pause when I answer a


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            1                  R. KOHN                                 1                  R. KOHN
            2   question so you will allow me to finish. No, I do      2   Exhibits 24 and 25. It is actually out of order but
            3   not know if Maria interviewed the cycle counter. I     3   that is fine.
            4   would assume Maria, John, and Kevin Randall talked     4     A. Maria's primary duties included the exercise
            5   to the cycle counter.                                  5   of discretion and independent judgment with
            6    Q. Did Maria review the qualifications of the         6   reference to matters of significance, which would be
            7   cycle counter?                                         7   the inventory, controlling the inventory, managing
            8    A. Again, I would assume that Maria, John, and        8   and monitoring the inventory, safeguarding the
            9   Kevin Randall interviewed, reviewed the                9   company, and identifying any theft of pilferage.
           10   qualifications and chose the cycle counters when      10   Maria's primary duty was to manage the department,
           11   they were hired.                                      11   commonly known as the inventory control function.
           12    Q. Did she have any contribution or say whenever     12   Maria customarily and regularly directed work of the
           13   a cycle counter was hired?                            13   inventory control cycle counters, and Maria's voice
           14    A. I would, again, assume say the three of them.     14   was given particular weight regarding hiring or
           15   Perhaps with HR if Dina Margolis or Beth Toohig was   15   firing or disciplining her workers.
           16   involved. I am sure they all collaborated on who      16     Q. What kind of discretion did Maria have in the
           17   the best individual would be as a candidate and       17   performance of the duties?
           18   on-boarded those people?                              18     A. During standard cycle counters, to use that
           19    Q. Would there be any documents showing she was      19   as an example, there are different variances that
           20   involved in this process at all?                      20   the WMI administrator would run down. If your loss
           21    A. I wouldn't think there would be documents         21   of a particular item is over X, you should
           22   that any of the people I named were part of the       22   investigate it. So with 17,000 items in the
           23   process.                                              23   facility, each one of them being in several
           24    Q. So you would hire a cycle counter and Kevin       24   locations, she had leverage to adjust any location
           25   Randall, John Wilkinson, and Maria's involvement      25   by, I believe, it was $500. So go ahead and make


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            1                   R. KOHN                                1                   R. KOHN
            2   would not be documented in any way in the hiring of    2   the adjustment if it is up to $500 and move on.
            3   this individual?                                       3   Anything over the $500 historically and routinely is
            4     A. No. I believe that the inventory control          4   something you would bring to your manager, and, to
            5   cycle counters would be interviewed by management.     5   that point, anything under $500 she would have the
            6   Management would include Maria, John Wilkinson, HR,    6   ability to write off in totality. That's a great
            7   Kevin. This was a union position. We would find        7   responsibility.
            8   the best fit for the organization, and I would not     8     Q. Are there any other reasons other than the
            9   think that would be documented.                        9   ones you listed why Maria was considered an exempt
           10           MR. MOSER: I need a two-minute break.         10   administrative or managerial employee?
           11           (Whereupon, a recess was taken at this        11     A. I can attach her functions to Melissa Decker
           12       time.)                                            12   Johnson's functions in Upstate New York who held the
           13     Q. So let's wrap up on the exemption so that we     13   same role who had the same exempt status.
           14   can move on.                                          14     Q. Are there any other reasons?
           15       So you are aware that Southern is claiming        15     A. I know that when we talk about her role as
           16   that Maria was an exempt managerial employee and      16   WMI administrator, I think people hear the word
           17   that she was an exempt administrative employee,       17   administrator. Perhaps you hear administrator as
           18   correct?                                              18   something less than in the management ranks, but it
           19     A. Yes.                                             19   is not. It is someone that is administering the
           20     Q. So I am going to ask it again so we don't        20   inventory and its value. So whether you want to
           21   leave anything out.                                   21   refer to Maria as a member of management or as a WMI
           22       Can you please list for me all the reasons        22   administrator, that would clearly cross the exempt
           23   why Maria was an exempt managerial employee?          23   line for me.
           24     A. May I refer back to our prior exhibit?           24     Q. Who is Cory Cooper?
           25     Q. Of course you can. We have Plaintiff's           25     A. Cory Cooper was the one-time East Coast vice


                                                                                       24 (Pages 93 to 96)
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            1                  R. KOHN                                 1                  R. KOHN
            2   president of human resources. He was Beth Toohig's     2     Q. Were any of these specific tasks listed in
            3   manager and again, Beth Toohig was the vice            3   the job description?
            4   president of human resources for New York State. So    4     A. I think it is nomenclature. I think when you
            5   Cory was the next level up in human resources.         5   look at reconciling receivings or task management,
            6    Q. He was down in Florida?                            6   that is inventory control.
            7    A. Yes.                                               7     Q. So it is a different way of saying the same
            8    Q. Florida is where the main offices of Southern      8   thing?
            9   are located?                                           9     A. Yes.
           10    A. The main office is in Florida in Miami. Cory      10     Q. I am going to show you what was marked as
           11   was in Miramar, Florida, outside of Fort Lauderdale   11   Plaintiff's Exhibit 4 for identification.
           12   in a different campus, not in the corporate office.   12       Have you seen this document before today?
           13    Q. Who did Cory report to?                           13     A. No.
           14    A. At what time period?                              14     Q. I would like you to take a moment to look at
           15    Q. Let's take the period Maria was WMI               15   it?
           16   administrator?                                        16     A. Okay.
           17    A. That was either Michael Head or Terry Arnold.     17     Q. So do you know if that was attached to the
           18    Q. Who was Michael Head?                             18   September 2, 2016, WMI Administrator Performance
           19    A. They held the same position. Mr. Head             19   Expectations memo? I am going to show you on my
           20   retired. He was the national vice president or        20   laptop so you can actually see it. I am going to
           21   senior vice president of human resources and          21   show you the memo itself, which begins at SGSW1145.
           22   Mr. Head was replaced with Terry Arnold.              22     A. Okay.
           23    Q. Who did Mr. Head and Mr. Arnold report to?        23     Q. Do you know if Plaintiff's Exhibit 4 was
           24    A. I believe to Lee Hagar.                           24   provided to Maria with the memo dated September 2,
           25    Q. Who is Lee Hagar?                                 25   2016?


                                                      Page 98                                                   Page 100
            1                  R. KOHN                                 1                   R. KOHN
            2    A. The chief administrator officer and I believe      2    A. It is attached to this document. The letter
            3   corporate secretary.                                   3   that he and Maria signed said, "I am including a
            4    Q. Who did Mr. Hagar report to?                       4   copy of your job description and the cycle count
            5    A. You are going up a lot of levels now.              5   daily procedure that Steve outlined to everyone last
            6    Q. I know.                                            6   week for your review." Since they both signed it, I
            7    A. I believe he reported to the board or              7   would believe it must have been attached.
            8   ownership.                                             8          MR. MOSER: We need to stipulate again,
            9    Q. I am going to show what was previously marked      9       because I don't have a copy of this. When I
           10   as Plaintiff's Exhibit 2 for identification.          10       say I don't have a copy of this, I don't
           11        Have you ever seen that document before          11       believe I have a copy of the memo dated
           12   today?                                                12       September 2, 2016, which is Bate stamped
           13    A. I have.                                           13       14415 to 14416. Can we stipulate this will
           14    Q. Do you know what this document is?                14       be marked Plaintiff's Exhibit 30 for
           15    A. I think this was a cheat sheet that Melissa       15       identification?
           16   Decker Johnson put together for Maria as part of      16          MS. CABRERA: Yes.
           17   critical things that would need to be done during     17          (Whereupon, Memo was deemed marked as
           18   the transition from the manual perpetual inventory    18       Plaintiff's Exhibit 30, for identification,
           19   method to a scanning method with the frequency for    19       as of this date.)
           20   most of them. Like, if you don't do anything else,    20    Q. 14415 and 14416, does this describe Maria's
           21   make sure you do these.                               21   role as WMI administrator?
           22    Q. Were any of these duties listed on Maria's        22    A. I think it's laying out the expectations of
           23   job description?                                      23   asking for help, of offering support, and putting
           24    A. Yes. It was all part of managing the              24   guardrails around the number of 500. I was correct
           25   inventory.                                            25   defining any large adjustments to bring that


                                                                                     25 (Pages 97 to 100)
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            1                  R. KOHN                                  1                    R. KOHN
            2   forward. I don't think it goes into every               2     Q. In the middle here, those are assignments for
            3   expectation. To me it appears to be more of a           3   her staff, right?
            4   counseling and coaching letter that's put out there     4     A. Yes.
            5   to help her realize she does have support, to give      5     Q. What about on top?
            6   her direction and to give her guardrails to protect     6     A. Absolutely. Run a report, do your XY report.
            7   the process.                                            7   Find the discrepancies, match Sapphire to WMI, and
            8    Q. Was she expected to perform the duties that         8   then assign work so that people can go and clean up
            9   are listed on Plaintiff's Exhibit 4, which was          9   everything that you run. Then at the bottom of that
           10   attached to the September 2nd memo?                    10   memo, it says when things settle down and they kind
           11    A. No. It refers to Steve. I believe it is            11   of get over that learning curve, you know, different
           12   Steve Fendley. This was put together to help her       12   things to look to and look towards.
           13   similar to what Melissa Decker Johnson put together    13     Q. I would like to draw your attention to
           14   on Exhibit 2, direction and coaching, counseling,      14   Exhibit 4 again.
           15   again to put her on the right track, to make sure      15       Are these instructions that she should follow
           16   she touches what is important. This document,          16   or that her staff should follow?
           17   Exhibit 4, looks like the things that cycle counters   17     A. Again, this is what her staff should do. If
           18   really need to complete. So on top it talks about      18   production is still running, your staff should work
           19   running the ZY report. I noticed that on things she    19   on these things. If production is complete, they
           20   needed to do and running CSI reports. That is the      20   should work on this stuff.
           21   general equalization between Sapphire and WMI. It      21     Q. It is telling her how she should assign the
           22   appears that you run these reports, you do this type   22   work; is that fair to say?
           23   of work, and then you can assign work out to the       23     A. Yes. This is experts coming from different
           24   cycle counters, and it gives smart direction. If       24   parts of the country telling her, You are in
           25   production is still running, as I said earlier, it     25   trouble, you are failing, your performance is


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            1                  R. KOHN                                  1                   R. KOHN
            2   is almost futile to count at night or while there is    2   degrading. Focusing on these things is a must in
            3   production because it is hard to count something        3   Plaintiff's 2, and run these reports, reconcile the
            4   when things are moving. So it provides advice and       4   inventory, assign the work this way, not as her
            5   maybe a bit of coaching. What makes sense. What to      5   manager telling her what to do, but as her partners,
            6   do three times a week or two times a week. What do      6   as her cohorts, people that are on her extended team
            7   you do if something is missing. General advice from     7   coming in to say, We are here to help you. Here is
            8   Steve Fendley who was one of the 40 people came on      8   our advice from the management point of view and
            9   site who is an Upstate New York employee who has        9   from the direct your people to do this point of
           10   always been part of the startup teams. Coming from     10   view, and they are even recommending that the
           11   him and Exhibit 2 coming from Melissa Decker           11   administrator should reconcile behind counters
           12   Johnson. If I were the person that these were given    12   during the day that if a cycle counter comes across
           13   to, I would take great attention to both of these      13   a gigantic issue, remember you have a $500 cutoff in
           14   because they are coming from two experts both within   14   authority, and many times I have seen during the
           15   the state of New York, both who are at the top of      15   prep for the deposition, Maria wrote off things and
           16   their performance curve.                               16   did not communicate them well in excess of $500.
           17     Q. This Exhibit 4 was given to Maria in a memo       17   There was one particular day she wrote off
           18   entitled WMI Administrator Performance Expectations,   18   $1,700,000 and didn't tell anyone and left it alone.
           19   correct?                                               19   I discovered it that one particular weekend. I
           20     A. Yes.                                              20   believe it was a Thursday or Friday, and I was in
           21     Q. Was she expected to do everything on this         21   the building on Saturday and Sunday with the
           22   cycle counting daily procedure? Was this part of       22   remaining inventory control staff right sizing and
           23   the performance expectations?                          23   reversing the $1,700,000 dollar write-off. So when
           24     A. No. These are assignments for her staff, for      24   these folks in this particular occurrence and
           25   her cycle counters.                                    25   Plaintiff's 4, this is direction to say, Hey, Maria,


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            1                  R. KOHN                                  1                 R. KOHN
            2   I am your equal somewhere else. Follow these rules.     2   Live, and then afterwards, but I would say the
            3   This makes sense. This is not saying I am your boss     3   summer of '16, and if we need an exact date, we will
            4   and I am telling you what to do and I am telling you    4   get one.
            5   how to direct work. That is not what this is. This      5    Q. When Maria was the inventory control manager,
            6   a friend from another location saying, I am here to     6   did she have authority to approve any variances in
            7   help bail you out.                                      7   inventory?
            8     Q. I am going to draw your attention to the memo      8    A. Yes.
            9   again, and I would like you to look at the              9    Q. Was there any limit on amount she could
           10   acknowledgement, which is below the horizontal line    10   approve on variances in inventory when she was the
           11   that is on page 2. I would like you to read that to    11   inventory control manager before she became WMI
           12   yourself.                                              12   administrator?
           13     A. I will read it aloud. I have reviewed the         13    A. I do recall during inventories it was a $500
           14   above and the performance expectations for a WMI       14   threshold. So I would say the $500 was consistent.
           15   administrator and acknowledge my role and              15   That is standard. That is not just a New York
           16   responsibilities. I further understand that failure    16   phenomenon. That is what we ask of the person
           17   to follow directives may lead to disciplinary action   17   controlling the books.
           18   up to and including termination.                       18    Q. Do you know, as you sit here today, whether
           19     Q. That was presented to Maria by John               19   she was able to approve variances in excess of
           20   Wilkinson?                                             20   $5,000 or up to $5,000 before she became the WMI
           21     A. Yes.                                              21   administrator?
           22     Q. This was signed by Maria and John Wilkinson,      22    A. As opposed to the $500 that I stated?
           23   correct?                                               23    Q. Correct.
           24     A. Correct.                                          24    A. That could have occurred.
           25     Q. When was Go Live?                                 25    Q. So your belief that she only had up to $500


                                                     Page 106                                                    Page 108
            1                  R. KOHN                                  1                   R. KOHN
            2     A. The summer of '16.                                 2   in variances approval as inventory control manager
            3     Q. July or August?                                    3   was based upon your experience in other areas or
            4     A. I would have to check some documents to be         4   other facilities?
            5   sure.                                                   5     A. The $500 is standardized across the WMI
            6     Q. Let me see if I can refresh your recollection      6   administrator role. You are asking the inventory
            7   another way to make it a little easier.                 7   manager role in a manual nonautomated environment.
            8     A. Thank you.                                         8   Was it possible she approved write-offs up to 5,000?
            9     Q. So I will quote from the testimony of Melissa      9   I think in a manual environment, things were
           10   Johnson. I will see if this refreshes your             10   probably harder to track and run down, one of the
           11   recollection or if you agree with this.                11   reasons the company surely wanted to be automated
           12       "QUESTION: When did you next meet her?             12   with scanners. So, of course, it was possible that
           13       "ANSWER: I saw her the week of Go Live?            13   she wrote off $5,000. A moment ago I mentioned that
           14       "QUESTION: When was that, approximately?           14   she wrote off 1.7 million.
           15       "ANSWER: I believe July of 2016?"                  15     Q. I am talking about not whether she wrote it
           16   Does that make sense?                                  16   off. I am talking about the authority that she had
           17     A. It was during the summer of 2016. I would         17   to write off.
           18   have to look at some documents to try to figure out    18        Did she have authority to write off variance
           19   the Go Live date. There was a period of time           19   in inventory of up to $5,000 when she was the
           20   leading up to Go Live where there were trainers        20   inventory control manager?
           21   there and preparatory issues. You can imagine in a     21     A. If her boss gave her the authority, if John
           22   large facility going from a manual process to an       22   Wilkinson gave her the 5,000 number, then yes.
           23   automated process was luminous. That is why the 40     23     Q. Do you know if she had authority in excess of
           24   people were there. So Maria and Melissa could have     24   $5,000 given to her by John Wilkinson?
           25   spent time before the Go Live, surely before the Go    25     A. I would not know.


                                                                                    27 (Pages 105 to 108)
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            1                  R. KOHN                                  1                  R. KOHN
            2     Q. Plaintiff's Exhibit 4, there is one line here      2   located?
            3   that says, The administrator needs to reconcile         3     A. Adjacent to the warehouse.
            4   behind them throughout the day.                         4     Q. Was that an office that was within the
            5       That was referring to the cycle counters?           5   warehouse itself or distinct and separate and apart?
            6     A. Yes.                                               6     A. At what point in time?
            7     Q. How would Maria do that?                           7     Q. When she first became WMI administrator?
            8     A. This is advice and this is coaching because        8     A. She was inside what I would refer to as the
            9   there are bundles of emails, volumes of emails that     9   office environment adjacent to the warehouse, and
           10   show Maria accepted cycle counts that could have       10   she was eventually moved into the manager's office
           11   been incorrect and were incorrect from her desk.       11   of the warehouse putting her more in touch with what
           12   Never walked out on the floor. Never took a look at    12   was happening on the floor because Maria did not
           13   it. Never said or took the matter uphill to her        13   like to go out on the floor.
           14   managers and said this is wrong. She memorialized a    14     Q. I don't know how familiar you are with the
           15   bad count. So this suggests that after the cycle       15   WMI administrator system. Unfortunately, through
           16   counters count everything systematically in the        16   testimony I am painfully aware of it, but I don't
           17   computer, if you see something that is way off base,   17   want to put words in your mouth.
           18   that's well outside the norm, that exceeds your        18       If there was a particular variance at a
           19   guardrail or your authority, take a walk on the        19   location, meaning the amount that the cycle counter
           20   floor and take a look at it, put eyes on it, get out   20   counted as being in that location was in excess of
           21   there before you validate something and say yes. We    21   $250, would that count automatically be rejected by
           22   are short or worse case yes, we over and we inflate    22   the system?
           23   our inventory. Go out there and take a look. Walk      23     A. No. It would go into what I would call a
           24   behind them. Them would be the cycle inventory         24   maintenance queue where someone would have the
           25   control counters.                                      25   availability, the opportunity to go in and check


                                                     Page 110                                                    Page 112
            1                  R. KOHN                                  1                   R. KOHN
            2          MR. MOSER: Can you repeat my question,           2   that.
            3       please.                                             3     Q. How would the individual check that?
            4          (Whereupon, the record was read by the           4     A. Walk out there and, you know, in WMI terms,
            5       reporter.)                                          5   put you eyes on it. Take a look at it.
            6    Q. How would Maria reconcile behind the cycle          6     Q. Was that Maria's job?
            7   counters?                                               7     A. No. It was her job to assign the work, to
            8    A. Walking out there, not sitting at her desk          8   look at variances, to make sure our WMI inventory
            9   erroneously memorializing bad counts. The               9   matched our Sapphire system of record and at the end
           10   suggestion is, the advice is, the coaching is, when    10   of each day to have them as close as possible to the
           11   you see something wrong, go take a walk out there on   11   same number. If that meant walking out to a
           12   the floor because you cannot fix it from behind a      12   location because something seemed erroneous, then
           13   desk.                                                  13   the task was to walk out to that location and put
           14    Q. In her prior role, could she fix things from       14   her eyes on it.
           15   behind a desk?                                         15     Q. When WMI was first implemented, how many
           16    A. No.                                                16   locations were being counted per day?
           17    Q. Did she have a desk in her prior role?             17     A. It varies. Again, cycle counters or guests
           18    A. Yes.                                               18   from other parts of the country could not really go
           19    Q. Did she have a desk when she was the WMI           19   into the system during production, so cycle counts
           20   administrator?                                         20   only occurred postproduction, and, naturally, when
           21    A. Yes.                                               21   you put a new system on production lengthened a
           22    Q. Where was that desk located?                       22   little bit as people got used to the scanning. So
           23    A. In the warehouse building. The 345 Underhill       23   there was a shortened window of cycle counting, and
           24   Boulevard facility.                                    24   there was a prescribed number of items that should
           25    Q. Where specifically in the building was it          25   be counted a day, whether they were aisles in the


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            1                  R. KOHN                                 1                    R. KOHN
            2   warehouse, bulk locations, pick modules. I think on    2     Q. Is it fair to say for the purposes of
            3   of the memos we read together earlier on Exhibit 4,    3   inventorying that it was good practice to count each
            4   it gave a schedule on what made sense what to count    4   location in this warehouse one per quarter, at least
            5   two or three times a week.                             5   once per quarter?
            6     Q. How many square feet was the Syosset office       6     A. That would be good practice. Some locations,
            7   at the time of Go Live? Was it 375,000 square feet,    7   like pick lines, should be counted several times a
            8   approximately?                                         8   week.
            9     A. Yes.                                              9     Q. Would Maria be responsible for checking the
           10     Q. Just to put that into perspective, that is       10   pick lines as well if for some reason there was a
           11   about six and a half football fields, right?          11   variance on the pick lines?
           12     A. Okay.                                            12     A. As details in Exhibit 4?
           13     Q. Not all of the locations are at ground level,    13     Q. Yes.
           14   are they?                                             14     A. Go out there and put eyes on it, sure. If
           15     A. That is correct.                                 15   something was gravely out of balance, yes.
           16     Q. What percentage of the locations are above       16     Q. Correct me if I'm wrong, but my understanding
           17   ground level?                                         17   of this is that even if she finds a discrepancy, she
           18     A. Roughly half.                                    18   is only allowed to approve a variance of up to $500;
           19     Q. When we talk about a location, it is a           19   is that correct or incorrect?
           20   physical location in the warehouse, correct?          20     A. Yes. That is good practice. $500 in an
           21     A. Yes.                                             21   automated WMI system is the standard.
           22     Q. That is actually a rack?                         22     Q. So how many counts were being put into the
           23     A. It could be, not always, but it could be.        23   que by WMI when it was first implemented? In other
           24     Q. In the main part of the warehouse, is it         24   words, how many times was a cycle counter going to a
           25   usually a rack, a storage rack?                       25   location and the system is showing that the variance


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            1                  R. KOHN                                 1                   R. KOHN
            2     A. There are different configurations. Racking       2   is greater than $250?
            3   is one of them.                                        3     A. At startup?
            4     Q. How many locations high is the highest part       4     Q. Yes.
            5   of the warehouse?                                      5     A. It would be quite often.
            6     A. Four or five locations high.                      6     Q. Then what was Maria's role after it is put
            7     Q. How high off the floor is the highest part of     7   into the queue because the variance was in excess of
            8   the warehouse, approximately?                          8   $250?
            9     A. The highest product or the roof?                  9     A. I said $500. You are saying $250.
           10     Q. The highest product?                             10     Q. Okay. So let's not go to the specific
           11     A. 20 something feet, 25 feet.                      11   amount.
           12     Q. How many locations are in the warehouse?         12       Is it your understanding that the system
           13     A. If you include the bottle locations, tens of     13   would re-queue, when I say re-queue, ask you to
           14   thousands.                                            14   recount a particular location if there was a
           15     Q. And under WMI, did each location have to be      15   variance in excess of $250? I am not talking about
           16   counted within a certain window of time?              16   this particular exhibit when we take about Exhibit 4
           17     A. It is preferable that if there is a short        17   or Exhibit 30. I am talking about the way WMI
           18   shipment of a miss pick, the administrator would      18   worked.
           19   direct someone to go there and say, We shipped the    19       Did it work that if a cycle counter went to
           20   wrong product. Go check that location. That would     20   a location, if the count and the variance was in
           21   be an exception check. Normally, on Exhibit 4 you     21   excess of $250, that it would automatically be
           22   want to count pick lines a few times a week. You      22   re-queued for recounting?
           23   want to count the racks a couple of times a week.     23     A. Yes.
           24   Ideally, you would count the warehouse; ideally,      24     Q. Did Maria have any role in that at all, the
           25   four times a year.                                    25   recounting?


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            1                   R. KOHN                                 1                  R. KOHN
            2     A. Physically recounting?                             2    A. I believe so, yes.
            3     Q. Correct.                                           3    Q. Does Southern have any records showing the
            4     A. No. She would assign the work to be                4   number of locations counted by any cycle counters
            5   recounted. The solution there is go make the            5   during the time period Maria was WMI administrator?
            6   adjustment and fix it and you won't have to go back     6    A. I wouldn't think the log would extend five
            7   there again.                                            7   plus years.
            8     Q. Let's say she assigned a particular cycle          8    Q. Does Southern have any documents showing the
            9   counter to recount a location and the system kicks      9   number of locations that were counted by Maria on a
           10   it back again because it is in excess of $250.         10   daily basis when she was WMI administrator?
           11        Was she expected to get eyes on the               11    A. I don't think documents would exist from five
           12   merchandise then?                                      12   or six years ago.
           13     A. If there was a repetitive problem, it would       13    Q. Do you have any idea how much time it would
           14   surely make sense to go take a walk and take a look    14   have taken to get eyes on each location that had
           15   at it or dispatch another cycle counter to go count    15   been rejected twice because of a variance in excess
           16   it.                                                    16   of $250 when Maria became the WMI administrator?
           17     Q. Well, let's say the first cycle is performed      17    A. I would think after Go Live there would be
           18   by one cycle counter, the second cycle is performed    18   much more time spent. I think if you asked me today
           19   by another cycle counter and the variance is still     19   the amount of times someone has to back and check
           20   in excess of $250, was she supposed to go out on the   20   something, it would be minimal.
           21   floor and actually get eyes on the merchandise at      21    Q. But at the beginning of Go Live, it was much
           22   that point?                                            22   higher? Is it fair to say that?
           23     A. Yes. It was her job to right size the             23    A. Yes.
           24   inventory and to manage the process, and if that       24    Q. Do you have any idea how long it would take
           25   meant getting up out of her desk and walking onto      25   Maria to get eyes on each location that had been


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            1                  R. KOHN                                  1                   R. KOHN
            2   the floor, that is a reasonable ask.                    2   twice rejected because of the variance?
            3     Q. Do you know how many locations were showing        3    A. I would say more than the norm, but when
            4   up with a variance in excess of 250 when WMI was        4   there is a startup for a Go Live, that is the
            5   first implemented on a daily basis?                     5   expectation. It is all hands on deck, and surely it
            6     A. No.                                                6   was more time than it would be post Go Live.
            7     Q. Do you know how many locations in the              7    Q. But you don't know, for instance, whether the
            8   warehouse on a daily basis were being rejected a        8   cycle counters were counting 100 locations a day
            9   second time because the variance was in excess of       9   each or 150 locations a day each?
           10   $250?                                                  10    A. No, but there is reference to Plaintiff's 28
           11     A. Today, no.                                        11   on August 4, 2016, that shows we had a cycle counter
           12     Q. At the time the system was implemented, it        12   count two items in three hours. That is absurd.
           13   would have recorded who did the initial count?         13    Q. Is Mr. Vey still employed by Southern?
           14     A. Yes.                                              14    A. Yes.
           15     Q. It would have recorded who did the recount?       15    Q. It's good to be human.
           16     A. Yes.                                              16       Now, do you know whether the number of
           17     Q. It would show how many locations were counted     17   locations where the count had been rejected twice
           18   twice and still showed a variance in excess of $250?   18   when Maria became the WMI administrator was more
           19     A. It would have shown each count.                   19   than 100 locations day?
           20     Q. It would have shown each count, and it would      20    A. I don't know the number, but I would say that
           21   have known the variance was in excess of $250?         21   would have been the high point post Go Live.
           22     A. That would have been the default, but yes, it     22    Q. What about for the months following Go Live?
           23   would show each count.                                 23    A. I think Maria had some performance issues.
           24     Q. When Maria entered a count using her RF gun,      24   Maria had performance issues many years throughout
           25   would that also register in the system?                25   her tenure at Southern. It started well before the


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            1                 R. KOHN                                   1                  R. KOHN
            2   WMI Go Live. I think the WMI Go Live highlighted        2   have went to a manager. It could have been Barry.
            3   some deficiencies in Maria's work. So to suggest        3   It could have been John Wilkinson. It could have
            4   the inventory immediately got better after Go Live      4   been Dina. It could have been Beth Toohig. They
            5   would be less that factual because Maria's              5   would talk about a situation and discipline would
            6   performance suffered throughout 2016 and 2017.          6   have been the result.
            7    Q. In the months immediately following Go Live,        7     Q. Did she have to go through Barry Finkelstein,
            8   how many locations per day did she need to get eyes     8   John Wilkinson, or anyone else to issue discipline
            9   on to do her job? Was it more or less than 100?         9   before she became the WMI administrator?
           10    A. We don't have that record today from five          10     A. Everyone goes through someone else including
           11   plus years ago to determine what that figure is.       11   me.
           12    Q. The cycle counters, is it fair to say that         12     Q. What does it mean when a manager who has
           13   discipline over the cycle counters went through        13   disciplinary authority versus a manager who does not
           14   Barry Finkelstein once Maria became the WMI            14   have discipline authority?
           15   administrator?                                         15     A. Are you suggesting the differences is
           16    A. No.                                                16   terminating, hiring and firing?
           17    Q. At some point did discipline over the              17     Q. No. It is simply a question.
           18   Southern counters go through Barry Finkelstein when    18           MS. CABRERA: Just answer the question.
           19   Maria was the WMI administrator?                       19     A. If someone has discipline authority, they can
           20    A. No. I think discipline over the cycle              20   recommend or impose discipline on their subordinate.
           21   counters went to Barry Finkelstein after Maria         21     Q. What about a manager who does not have
           22   Suarez was no longer with the organization.            22   discipline authority?
           23    Q. Just to clarify, at all times during her           23     A. I think just by the suggestive nature of a
           24   employment with Southern, Maria had both supervisory   24   manager they have disciplinary authority. If you
           25   and disciplinary authority of the inventory control    25   are a manager, you are managing people or processes.


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            1                  R. KOHN                                  1                  R. KOHN
            2   team?                                                   2   You have some form of disciplinary authority over
            3     A. I think we talked about this earlier. Barry        3   others beneath you.
            4   Finkelstein was the shift manager. It's like the        4     Q. Was there ever a time that Maria was a
            5   captain of a boat. You let the captain know what        5   supervisor of the inventory control team but did not
            6   goes on on the boat, and Barry Finkelstein was the      6   have discipline authority over them?
            7   highest ranking person on during days at the            7     A. There could have been. They were unionized
            8   facility. So Maria would have conferred with him,       8   counters, and because they were unionized counters,
            9   discussed with him the same way John Wilkinson would    9   it would be obvious that she would have to go to
           10   have went to Kevin Randall. It is a courtesy and it    10   someone else before imposing discipline or before
           11   is a respect issue to let other people know what is    11   triggering some kind of discipline. We have a
           12   going on with the workforce.                           12   relationship with the union, and we would not have
           13     Q. Did Maria have disciplinary authority over        13   someone doing something outside the scope of what we
           14   the members of the inventory control team when she     14   would we want. They would be working with a manager
           15   worked at Southern?                                    15   or human resources.
           16     A. Can you elaborate on disciplinary authority.      16     Q. So did the nature of Maria's discipline
           17     Q. Well, it is a term that I didn't use. It's a      17   authority over the inventory department, did that
           18   term I asked another witness, and it is referred to    18   change at all in any way from the time her
           19   in one of these documents that discipline goes to      19   department went union until she separated from
           20   Barry Finkelstein.                                     20   employment?
           21        So what does Southern mean by discipline?         21     A. As Maria's performance declined in 2016
           22     A. I think we also talked earlier that human         22   throughout 2017, I think Maria had more support from
           23   resources is part of most disciplinary meetings and    23   other people, namely, John Wilkinson, and probably
           24   functions, has been, and if Maria wanted to            24   coached her through any kind of exchange with the
           25   discipline an inventory control clerk, she would       25   union staff, and maybe his involvement overshadowed


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            1                  R. KOHN                                  1                  R. KOHN
            2   her authority because again there is volumes of data    2    A. Yes.
            3   and emails showing her performance declining, and I     3    Q. So her choices were either apply for the new
            4   think John Wilkinson was probably more interested in    4   role or separate from employment or find another
            5   getting her through this eminent crisis, having her     5   location within the company?
            6   maintain her position than giving her the authority     6          MS. CABRERA: Objection to the form of
            7   to recommend or impose discipline.                      7       the question.
            8     Q. And how did it change in 2016 to 2017?             8          You can answer.
            9     A. I'm not sure what the question is. How did         9    A. The company posts jobs routinely. Maria
           10   it change?                                             10   volunteered a posting for WMI administrator. She
           11     Q. How did the nature of her disciplinary            11   was awarded that job with a promotion and expanded
           12   authority change in 2016 to 2017 when she was          12   responsibility and increased compensation. It was a
           13   getting more support from John?                        13   good thing for Maria to get that role.
           14     A. I am suggesting that Maria was failing badly,     14    Q. I can see what a good thing for her it was.
           15   poorly. She was put on a performance improvement       15          MS. CABRERA: Objection.
           16   plan in January 2017. She had her expectation          16    Q. Did she volunteer to apply or was she told to
           17   meeting three months prior in September 2016, and      17   volunteer to apply?
           18   she was failing, across the board failing. It got      18    A. When people post for a job, it does not say I
           19   to the point I am suggesting that John absorbed some   19   was told to apply for a job or I volunteered for
           20   of her other duties like imposing discipline on the    20   this position.
           21   union staff because at that time she was probably      21    Q. So no one ever told her to apply for this
           22   seen as not capable of doing it.                       22   job?
           23     Q. Can you list for me all the reasons why Maria     23    A. I would not know that.
           24   was selected to be the WMI administrator?              24    Q. No one told her that her job was going to be
           25     A. I think we covered this. She applied for the      25   eliminated?


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            1                  R. KOHN                                  1                  R. KOHN
            2   role. The manager was the same in the new role.         2    A. I would not know that.
            3   The WMI administrator reported to John Wilkinson.       3    Q. There had been litigation by certain women in
            4   So she would have had a common manager. She had the     4   the inventory control department against Southern,
            5   qualifications to take on that new role. She was        5   correct?
            6   what I would refer to as the incumbent in the manual    6    A. Yes.
            7   processing of the perpetual inventory, and the only     7    Q. Those consisted of federal lawsuits, correct?
            8   change would have been we went from a manual            8    A. Yes.
            9   environment to a more automated systematic              9    Q. Did Maria have any role in these women coming
           10   environment, and Maria would have been the natural     10   to believe that they had a grievance with Southern?
           11   fit; and since she applied, it made sense to award     11    A. Could you repeat that.
           12   her that role, which was a promotion with an           12           MR. MOSER: Can you read that back,
           13   expanded responsibility and expanded staff.            13       please.
           14     Q. If she had not applied for that position,         14           (Whereupon, the record was read by the
           15   what would have happened?                              15       reporter.)
           16     A. The old position went away. There would have      16    A. I don't believe so.
           17   been no role.                                          17    Q. Did she ever arrange for any meetings between
           18     Q. So was it fair to say her position was            18   her staff and human resources?
           19   eliminated?                                            19    A. Personally, I do not know, but when we talked
           20     A. No. The new position was upgraded and she         20   about Exhibit 28 earlier where the inventory control
           21   applied for a new role and she received a promotion    21   clerks went to Barry Finkelstein wanting to go to
           22   with a pay increase and more responsibility.           22   HR, I am assuming that must be a similar situation.
           23     Q. However, her old role as inventory control        23    Q. Did Maria ever indicate to Southern that she
           24   manager, is it fair to say that that particular        24   believed that the individuals in her department were
           25   position was eliminated?                               25   classified differently based upon sex?


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            1                  R. KOHN                                  1                   R. KOHN
            2     A. I think I saw your document in preparing for       2   clarified. The cycle counters were and remain
            3   the deposition where Maria was asked did the union      3   clerical in nature from the time they were in the
            4   feel that way and her answer was I wouldn't know.       4   union, which I think was 2007 or 2008. Back at that
            5     Q. So at any time did Maria ever inform anyone        5   point, they were clerical, and that is based on a
            6   at Southern that she believed that her department       6   35-hour workweek with a certain pay structure. As
            7   was classified differently based upon sex?              7   opposed to warehouse workers, which are a 40-hour
            8     A. Not that I am aware of, but again, the             8   workweek with a different pay grade.
            9   department was a union department. The jobs are in      9     Q. I don't want to get into this too much, but
           10   the collective bargaining agreement. The collective    10   we will delve into it slightly.
           11   bargaining agreement prescribes their clerical jobs,   11        That collective bargaining agreement you are
           12   which is not non warehouse work. I know that           12   referring, does it describe the duties of a clerical
           13   Exhibit 28 points to the desire of the inventory       13   employee?
           14   team to be paid as warehouse workers, not as           14     A. Duties, no. I believe it calls out the
           15   clerical. So it sounds like a common theme, but the    15   title, talks to work hours, shifts.
           16   company and the union engage in collective             16     Q. Does that collective bargaining agreement
           17   bargaining, and collective bargaining is just that.    17   describe the duties of a warehouse employee?
           18   It is that bargaining between the union and the        18     A. No. It calls out pay ranges,
           19   company where individual agreements are prohibited.    19   classifications, shifts, start times, hours.
           20   So if the cycle counter or inventory control clerks    20     Q. It simply states that clerical workers are
           21   desired to change their classification or to have      21   workers that work a 35-hour workweek and
           22   conversations with other employees about testing the   22   warehousemen are workers that work a 40-hour
           23   water to see if there was an appetite to change        23   workweek, correct?
           24   their classification, that would be a prohibited       24     A. That is part of what it says, yes.
           25   event because they are a part of a collective          25     Q. Who decided who worked the 35-hour workweek?


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            1                   R. KOHN                                 1                   R. KOHN
            2   bargaining unit, which clearly states the cycle         2    A. Could you clarify the question? I'm not sure
            3   counters are clerical by classification.                3   what you mean.
            4    Q. The collective bargaining agreement says that       4    Q. How did you decide who was going to work a
            5   cycle counters are clerical?                            5   35-hour workweek and who is going to work a 40-hour
            6    A. Yes.                                                6   workweek?
            7    Q. When was the collective bargaining agreement        7    A. Warehouse workers worked a 40-hour workweek.
            8   changed?                                                8   Clerical employees, whether they are in the office
            9    A. I think the cycle counters were listed as           9   or the warehouse that are clerical in nature, work
           10   clerical after the cycle counters sued the union and   10   35 hours a week. The 35-hour-a-week employees
           11   the cycle counters were always clerical by             11   benefited greatly when raises came around. I will
           12   classification. I think on advice of counsel, union    12   give you an example. If a warehouse person received
           13   counsel, it was inserted into the collective           13   a dollar an hour increase $40 a week, it came out to
           14   bargaining agreement to protect the union moving       14   be a dollar an hour. If a 35-hour-a-week employee
           15   forward because it needed to be expressly written      15   received a dollar, it came out to be a dollar and 12
           16   that the cycle counters were clerical by               16   and a half cents as opposed to the dollar. So
           17   classification, not warehouse by classification.       17   across the board when the company agreed to certain
           18    Q. So just to clarify, after the cycle counters       18   union demands, they were carried equally against the
           19   sued the company and union for sex discrimination,     19   clerical and the warehouse staff benefitting the
           20   the collective bargaining agreement was changed to     20   clerical staff.
           21   protect the union, and it specifically states now      21    Q. Before the clerical staff were included in
           22   that cycle counters are not warehouse employees;       22   the collective bargaining agreement, how long was
           23   they are clerical employees?                           23   their workweek?
           24    A. I think that is close. I think the                 24    A. The clerical staff was always included in the
           25   collective bargaining wasn't changed. It was           25   collective bargaining agreement.


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            1                 R. KOHN                                   1                  R. KOHN
            2    Q. Before the inventory control department was         2   have warehouse experience?
            3   included in the collective bargaining agreement, how    3           MS. CABRERA: Objection.
            4   long was their workweek?                                4     A. No, I am not aware of that. I am aware that
            5    A. I would suppose prior to them going into the        5   one of the cycle counters at one point applied for a
            6   union in 2007 or 2008, they probably worked 40 hours    6   warehouse role and withdrew her application once she
            7   a week.                                                 7   knew she had to work nights according to the union
            8    Q. So there were employees who worked a 40-hour        8   contract.
            9   workweek, who were told you are working a 35-hour       9     Q. The union contract says they have to work
           10   workweek, correct?                                     10   nights?
           11    A. They joined the union. They were part of a         11     A. Absolutely. Seniority prevails at all time.
           12   collective bargaining agreement. Their work was set    12     Q. That is not my question about seniority.
           13   for them based on a union contract.                    13       My question is: Does the collective
           14    Q. Who decided who was going to work 35 hours         14   bargaining agreement say that new employees have to
           15   and who was going to work 40 hours?                    15   throw cases at night?
           16    A. Warehouse workers work 40 hours. Clerical          16     A. The collective bargaining agreement people
           17   workers work 35 hours.                                 17   bid by position. The favorable position is to be on
           18    Q. Who decides if an employee is going to work        18   days. The least favorable is to work at night. New
           19   35 or is going to work 40. Once these new              19   people end up working at night. That is where you
           20   individuals became part of the union, who decided      20   start. If a new person started on a different
           21   who was going to be a 35-hour-workweek employee and    21   shirt, somebody with more seniority would have claim
           22   who was going to a 40-hour-workweek employee?          22   for that role because they were bypassed.
           23    A. After they became part of the union, they          23     Q. Are you aware that prior warehouse experience
           24   would have all worked 35 hours a week.                 24   is actually not a qualification, a requirement to
           25    Q. At the time they went union, the company and       25   get a warehouse classified position?


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            1                   R. KOHN                                 1                  R. KOHN
            2   the union decided they would all have the clerical      2    A. That is something I have never heard before.
            3   classification; is that fair to say?                    3    Q. Does Southern take claims of discrimination
            4     A. Yes.                                               4   seriously?
            5     Q. You are aware that Southern has never hired a      5    A. Yes.
            6   female into the warehouse classified position for       6    Q. Do they take steps to prevent discrimination
            7   the past 10 years; is that fair to say?                 7   in any form?
            8           MS. CABRERA: Objection.                         8    A. Absolutely.
            9     A. I can answer that. People are hired after          9    Q. Do they take steps to prevent discrimination
           10   they apply for positions. If no females apply for a    10   on the basis of sex?
           11   warehouse position, they could not have been           11    A. Yes.
           12   selected. I think I can answer your next question      12    Q. What about in terms of retaliation?
           13   without you asking it. I won't. I will let you ask     13    A. Of course.
           14   it.                                                    14    Q. Are you familiar with what was alleged in the
           15     Q. How do you know that any woman didn't apply       15   Fajous litigation?
           16   for the warehouse position? How do you know there      16           MS. CABRERA: Objection. You are getting
           17   were no female applicants?                             17       very close to a topic that we got a
           18     A. I think our human resource came out with that     18       protective order. So you are teetering. I
           19   data in a previous litigation or claim. Anyone         19       am also going to say you spent about 15, 20
           20   hired into the warehouse to start on the nights. So    20       minutes discussing a collective bargaining
           21   regardless of who applies, man or woman, they must     21       agreement that is not part of this case,
           22   start at night.                                        22       talking about claims that are not part of
           23     Q. Are you aware that Beth Toohig testified that     23       this case, and we are five hours into this
           24   the women who applied for the warehouse                24       deposition, and that is what we are wasting
           25   classification were disqualified because they didn't   25       time on. You can continue.


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            1                  R. KOHN                                  1                  R. KOHN
            2     A. I am not familiar today with all the               2   bargaining agreement. They know what their position
            3   specifics of the Fajous case.                           3   is, what their pay scale is, what their hours of
            4     Q. Are you specific with the generalities of it?      4   operations are, what the opportunities for
            5     A. Please refresh me.                                 5   advancements are. Any one of these inventory
            6     Q. The generalities are the inventory control         6   control cycle counter individuals could have gone
            7   clerks spent time on the warehouse floor. They          7   into the warehouse, progressed up through the ranks
            8   moved up to five cases per location. They wore          8   like any other individual that was hired there.
            9   harnesses. They used cherry pickers. They were          9   They opted not to and they could have, and the
           10   exposed to the same risks as the warehousemen. They    10   one person I am aware of who put their name in for a
           11   did counting, which is something similar to what the   11   warehouse position withdrew their name.
           12   checkers did, and they alleged they were doing         12     Q. I am going to show a document that was
           13   similar work to many warehousemen but were not         13   previously marked Exhibit 17.
           14   getting classified in the contract as warehousemen     14       Have you ever seen that document before
           15   and were not receiving warehouse pay. That is a        15   today?
           16   summary of that.                                       16           MS. CABRERA: I am going to note my
           17     A. Okay.                                             17       objection. I objected to 17 when it was
           18     Q. Following that litigation, the first question     18       first given to a prior witness. I will renew
           19   is: Do you think that Southern has the capacity to     19       that objection. This is not a document that
           20   be honest with itself regarding whether it is          20       has been exchanged in this case. This is a
           21   discriminating or retaliating against employees?       21       document from a prior case that plaintiff
           22          MS. CABRERA: Objection.                         22       counsel continues to try and ask questions
           23          Answer the question.                            23       about, but it is not a document in this case,
           24     A. That is, forgive me, absurd. Southern             24       and we will move to strike this and any
           25   employs almost 25,000 people. Southern has family      25       documents presented to witnesses that have


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            1                  R. KOHN                                  1                   R. KOHN
            2   values, and it goes out of its way to protect its       2        not been exchanged in discovery before August
            3   employees at all times. So yes, Southern has the        3        of this year.
            4   ability to be honest with themselves.                   4            You can answer whatever questions he
            5     Q. That is regardless of whether it is a claim        5        asks.
            6   for equal pay or sex discrimination as alleged by       6     A. No. The document is not familiar to me.
            7   the women who worked for Maria or whether it is         7     Q. Who is Justin Vey?
            8   Maria's actual claim of retaliation; is that fair to    8     A. Cycle counter inventory control clerk.
            9   say?                                                    9     Q. What is this document?
           10     A. Southern investigates all claims.                 10     A. It is titled New Hire Notice.
           11     Q. And comes to a conclusion not based upon what     11     Q. According to this document, what is Mr. Vey's
           12   is in Southern's best interest but what is in the      12   title?
           13   best of Southern's employees?                          13     A. Warehousemen Night.
           14     A. Southern always does the right thing.             14     Q. Do you know why it says that?
           15     Q. And the right thing would be what is in the       15     A. It must be an error because Justin Vey was
           16   best interest of the employees; is that fair to say?   16   hired on days as a cycle counter.
           17     A. Southern always does the right thing. I'm         17     Q. So this was simply a clerical error?
           18   not sure of where you are going. If you are            18     A. There is no other explanation for Mr. Vey
           19   referring to a prior case or these four people or      19   being titled a warehouse person at night?
           20   current or past lawsuits or claims, Southern and       20     Q. None?
           21   Union 1 operate under a collective bargaining          21     A. I don't believe Mr. Vey ever worked at night.
           22   agreement. We are bound by the terms of the            22     Q. Do you recognize the signature in the lower
           23   agreement. Our employees waive the right to            23   left-hand corner?
           24   individual agreements. When they sign the card and     24     A. I am trying to figure out who that is. It
           25   join the union, they are part of a collective          25   says human resources but I don't know.


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            1                  R. KOHN                                  1                  R. KOHN
            2     Q. Do you know if it is Greg Rizzly?                  2   simply to eliminate 26 people?
            3     A. Well, Rizzly L-Y, and this doesn't. I don't        3    A. In an effort to streamline the company to
            4   know.                                                   4   increase efficiencies and to eliminate expense, the
            5     Q. So can you list for me all of the reasons why      5   request was to consolidate and fold 26 roles.
            6   Maria was selected for elimination as part of the       6    Q. Was the specific instruction simply to
            7   statewide reduction enforce program?                    7   eliminate 26 roles?
            8     A. Yes. In early 2018 Southern went through a         8           MS. CABRERA: Objection.
            9   process of looking at internal controls,                9           You can answer.
           10   streamlining operations, eliminating positions under   10    A. Yes. To work with human resources and the
           11   the guise of protecting the company from expenses,     11   legal team, identify 26 roles that could be
           12   scaling back a bit. There were a couple of criteria    12   collapsed and do it correctly.
           13   used when we looked at the employees and the           13    Q. When were you notified of the requirement
           14   positions that could have been eliminated, and there   14   that you eliminate 26 roles?
           15   were 26 positions in New York State that were          15    A. It was in early 2018.
           16   eliminated in April-ish of 2018. Five of them came     16    Q. How much time were you given to eliminate
           17   from the operations group, and the positions that      17   these individuals?
           18   were looked for were ones that could be eliminated     18    A. I think the people that were identified and
           19   where the work could go to other employees without     19   were terminated were terminated in April, April 6th
           20   the need to backfill that role. Ultimately saving      20   or April 8th, so it would have probably been
           21   money for that position. Another criteria was job      21   90 days.
           22   performance. Who is good at their job, who is poor     22    Q. Did you receive a list of individuals to let
           23   at their job, who could do different work if they      23   go?
           24   were to absorb other people's roles, and the WMI       24    A. I'm not sure. I don't understand the
           25   administrator role was a good candidate for job        25   question.


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            1                   R. KOHN                                 1                  R. KOHN
            2   elimination and, ultimately, the role was               2    Q. Were the 26 people chosen for you?
            3   eliminated, and this was Maria Suarez's role. Her       3    A. The 26 people were chosen. The 26 positions
            4   work went to Tonisha Durant and to Barry                4   were identified that could be closed. The operation
            5   Finkelstein. It was not backfilled, and since her       5   staff that I am responsible for had five of those 26
            6   job performance was degrading and suffering, got        6   positions.
            7   through a very difficult 2017. On a performance         7    Q. Were the specific positions that would be
            8   improvement plan considering her belligerent            8   eliminated relayed to you?
            9   difficult attitude with the 40 folks who came to        9    A. Yes.
           10   help with the Go Live process, her role was one that   10    Q. Was Maria's position one of those positions?
           11   was chosen to eliminate.                               11    A. Yes.
           12    Q. Are there any other reasons why she was            12    Q. Are there any documents which show the
           13   selected for elimination.                              13   considerations that went into selecting Maria's
           14    A. It was jobs that could be eliminated with the      14   position for elimination?
           15   work absorbed by other employees and with a look at    15    A. I don't believe so. I think the
           16   performance.                                           16   corresponding managing staff identified people
           17    Q. Now, did you receive any instructions              17   within their organization, and in this case Kevin
           18   regarding the implementation of this elimination       18   Randall identified five people in Metropolitan New
           19   program from any one of your managers?                 19   York.
           20    A. No. There was notification that New York was       20    Q. Just so we are clear, the instructions that
           21   slated to reduce 26 roles.                             21   you got from the higher ups, were the specific roles
           22    Q. How many roles were there in the State of New      22   that should be eliminated communicated to you?
           23   York to select from?                                   23    A. No.
           24    A. Roughly 1500.                                      24    Q. They were not?
           25    Q. The instructions that you received were            25           MS. CABRERA: Objection. Are you asking


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            1                   R. KOHN                                 1                  R. KOHN
            2        a question? Are you having a conversation?         2       30(b)(6), so you can testify as Roy as a fact
            3        What are you doing here?                           3       witness, if you know, but you are not
            4     A. Are you asking if we were told who to              4       testifying to that as a --
            5   eliminate?                                              5           MR. MOSER: He can say he doesn't know.
            6     Q. Yes.                                               6       That is fine.
            7     A. No.                                                7    A. I am not comfortable putting on the record
            8     Q. Were you told which roles to eliminate?            8   what the company made in any period of time.
            9     A. No.                                                9    Q. I know you are not comfortable.
           10     Q. Were you told which positions to eliminate?       10       How much money did the company earn net
           11     A. No.                                               11   income in 2017?
           12     Q. So you were just told eliminate 26 people,        12    A. I don't know today.
           13   any 26 people; is that fair to say?                    13    Q. You have no idea?
           14           MS. CABRERA: Objection to the form of          14    A. No. Today I don't know.
           15        the question.                                     15    Q. Today you don't know?
           16           MR. MOSER: I am trying to understand.          16    A. Yes.
           17     A. No. I tried this once. I will try it again.       17    Q. Can you say whether it was more or less than
           18   The company was going through a cost savings           18   a hundred million dollars?
           19   initiative. It was trying to streamline operations.    19    A. Significantly less.
           20   It was trying to become more efficient and better      20    Q. Was it more or less than fifty million
           21   managed and run. The company did calculations and      21   dollars?
           22   came up with the number of 26 roles to eliminate in    22    A. I am not going to play the guessing game. I
           23   New York. Of the 26 roles, five happened to be in      23   am not comfortable with this conversation.
           24   operations. After looking at roles that could be       24    Q. Why are you not comfortable with it? What
           25   collapsed, with a couple of criteria, what could be    25   about the net income from a company --


                                                      Page 146                                                   Page 148
            1                  R. KOHN                                  1                   R. KOHN
            2   collapsed that had work that could be distributed to    2    A. This is a family owned company. If it was a
            3   other employees and not have that vacated role          3   Fortune 500 company, you can go online and find that
            4   backfilled considering job performance go through       4   out. This is a family owned company that is owned
            5   your list of people and come up with in New York 26     5   by individuals, and they don't disclose that type of
            6   roles. In operations, five were determined to be        6   information.
            7   viable.                                                 7    Q. Is it fair to say there was an profit from
            8    Q. Did corporate also tell you what percentage         8   New York operations in 2017?
            9   should be in operations versus other areas or no?       9    A. It is marginal. It is nothing that you are
           10    A. No. Everyone went through their group of           10   imagining. You came out with a hundred million
           11   people, looked at roles that could be collapsed        11   dollars and fifty million dollars. It is nowhere at
           12   where the work could be distributed to other           12   all in that realm.
           13   employees considering job performance.                 13    Q. Well, what it is then?
           14    Q. What was the net income from New York              14    A. I just told you I am uncomfortable and I do
           15   operations in 2017?                                    15   not know the number today.
           16    A. I am not comfortable disclosing that.              16    Q. What was the total payroll paid to the
           17    Q. Well, if there is a cost-saving measure --         17   1800 individuals?
           18    A. Are you asking how much money the company          18    A. I said 1500.
           19   made in 2017 or what shedding 26 roles saved the       19    Q. What was the total payroll for the 1500?
           20   company?                                               20    A. I don't know the number today. I can
           21    Q. No. I am asking you how much net income the        21   approximate a number for you, but I don't know the
           22   company earned from New York operations in 2017. If    22   number today.
           23   you want, we can mark this portion of the transcript   23    Q. What is your best approximation?
           24   confidential.                                          24    A. $150 million.
           25           MS. CABRERA: It is also not part of the        25    Q. How much money was saved by the 26 layoffs on


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            1                   R. KOHN                                 1                  R. KOHN
            2   an annual basis?                                        2    Q. Was she one of the lowest paid managers?
            3     A. Five or six million.                               3    A. No.
            4     Q. Now, how much money did Southern save from         4    Q. So when you actually went to select the
            5   eliminating Maria on a yearly basis?                    5   individuals, did you go for the maximum savings to
            6     A. An all-in number with benefits SUDA, FEUDA,        6   the company? Was that a factor?
            7   taxes, workers' compensation, health care, 401K,        7           MS. CABRERA: Objection.
            8   $125,000.                                               8           You can answer.
            9     Q. Now, what analysis, if any, was done with          9    A. I did not select the individuals.
           10   regard to the capacity to reduce the work force in     10    Q. When the individuals were selected, was the
           11   New York by 26 before you received those               11   total savings to the company a factor?
           12   instructions?                                          12    A. There were a couple of criteria used to
           13           MS. CABRERA: Objection.                        13   select the individuals. One was, can we live
           14     A. I'm not sure of the form of the question. I       14   without that position? Could we take a position,
           15   think you are asking were we targeting a number.       15   collapse it, save that money, and give that work to
           16     Q. Well, how did Southern come up with the           16   other employees without skipping a beat? That was
           17   number of 26?                                          17   the driver. Was there something we could eliminate
           18     A. Southern was looking to save a certain amount     18   and give the work to other people? The secondary
           19   of money in New York. This was an initiative to        19   criteria was job performance.
           20   save money.                                            20    Q. But the total amount to be saved, in other
           21     Q. I understand that.                                21   words, the individual's total income that would have
           22       How did they come up with the number of 26?        22   been saved was not a factor; is that correct?
           23     A. My assumption is they took an average rate,       23           MS. CABRERA: Objection.
           24   an all-in rate, to come up with an all-in figure and   24           Answer it again.
           25   my estimate of the all-in figure number was five to    25    A. The company was looking to eliminate a


                                                     Page 150                                                    Page 152
            1                   R. KOHN                                 1                  R. KOHN
            2   six million dollars.                                    2   certain number of people to save money to reduce its
            3    Q. What was the impetus behind this initiative         3   expenses. There were people on the list that made
            4   to save money?                                          4   significantly more money than Ms. Suarez, and there
            5    A. To save money.                                      5   were people on the list that made less money than
            6    Q. Would that increase the profits?                    6   Ms. Suarez. Her position was ideal for
            7    A. When companies are left unchecked for long          7   consolidation because the work that was being done
            8   periods of time, employment always grows, and every     8   was able to go to two other individuals that picked
            9   once in a while, companies need to look at              9   up the work seamlessly, transparently, and the fact
           10   themselves and scale back or cut back; and as I        10   that Maria's job performance was highlighted during
           11   stated, in early 2018 the company came up with an      11   the past 18 months before that in '16 and all
           12   initiative to streamline itself to increase            12   throughout '17 made that decision simpler.
           13   productivity in avenue of expense reduction.           13    Q. So at the time that Maria separated from
           14    Q. Do you have any knowledge of what went into        14   employment, what was Barry Finkelstein's job title?
           15   arriving at that specific number of 26?                15    A. I believe he was the day manager.
           16    A. No, other than the company was targeting           16    Q. Did Maria separate from employment in
           17   savings.                                               17   April 2008?
           18    Q. Did they tell you salary ranges of the             18    A. I believe it was April of 2018.
           19   individuals who had to be let go?                      19    Q. I'm sorry. Did I say 2008?
           20    A. No.                                                20    A. Yes.
           21    Q. They just said eliminate 26?                       21    Q. I apologize.
           22    A. Yes.                                               22       According to SGWS1094, which is Plaintiff's
           23    Q. In terms of being a manager, was Maria one of      23   Exhibit 22, who is the day manager?
           24   the more highly paid managers?                         24    A. Barry Finkelstein.
           25    A. No.                                                25    Q. Where do you see that?


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            1                  R. KOHN                                  1                  R. KOHN
            2    A. Here (indicating). Barry Finkelstein,               2     A. No. This document, it looks like Barry
            3   manager.                                                3   Finkelstein shouldn't have a little line here.
            4    Q. Who reports to Barry Finkelstein according to       4     Q. So according to this document itself, nobody
            5   this?                                                   5   reports to Barry Finkelstein; is that fair to say?
            6    A. The people below him.                               6     A. No. I am suggesting that Barry Finkelstein
            7    Q. Jerry Danzi reports to Barry Finkelstein?           7   should not have a horizontal line here, and if this
            8    A. Yes.                                                8   document has something that has no indication of
            9    Q. Peter Lazar reports to Barry Finkelstein?           9   what happens in this real world. This is an
           10    A. Yes. Peter Lazar took this open box that           10   organizational chart.
           11   said manager. Earlier I said Pete Lazar was hired      11     Q. What about Exhibit 23? According to this
           12   to go into the mid-shift manager role when you asked   12   document, does anyone report to Barry Finkelstein?
           13   what he was.                                           13     A. Barry Finkelstein was the day manager. Barry
           14    Q. Before Barry Finkelstein was a manager, did        14   Finkelstein was responsible for these people
           15   he manage Gary Moncho as well?                         15   (indicating).
           16    A. Barry Finkelstein was a long-time employee,        16     Q. According to the document, I am not talking
           17   an institution there. Gary Moncho was brand new.       17   about what your understanding is.
           18   Pete Lazar was brand new. Jerry Danzi was managing     18       My question is: According to this document,
           19   the docks, so yes, it is very conceivable that the     19   does anyone report to Barry Finkelstein?
           20   new employees reported through the institution         20     A. This is the document that I called out before
           21   manager.                                               21   as appearing to be cleaned up with positions removed
           22    Q. There is a horizontal line between Barry           22   from it and underneath Barry Finkelstein on this
           23   Finkelstein and it is small, but it is still           23   document could have the cycle counters because after
           24   horizontal. Do you see that?                           24   Maria left, Barry Finkelstein absorbed the cycle
           25    A. Yes, I do.                                         25   counters, and Tonisha absorbed the administrative


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            1                  R. KOHN                                  1                 R. KOHN
            2    Q. According to this document, does Peter Lazar        2   portion of the vacated role.
            3   report to Barry Finkelstein?                            3     Q. Was there a period of time Barry Finkelstein
            4    A. Can I see the August 2018 document?                 4   worked without a title?
            5    Q. Sure. Absolutely.                                   5     A. I am not really sure what the question means.
            6           MR. MOSER: Just for the record, what is         6   Everyone has a position and a role.
            7       Bates marked SGWS 001103 as well as SGWS            7     Q. Was Peter Lazar hired to replace Barry
            8       001094.                                             8   Finkelstein?
            9    Q. My question was: According to Exhibit 22,           9     A. No. Peter Lazar was hired to be the
           10   does anyone report directly to Barry Finkelstein?      10   mid-shift manager to bolster the management team and
           11    A. Are you asking me if this horizontal line is       11   to provide 24-hour coverage with Barry Finkelstein
           12   valid or --                                            12   on days, Pete Lazar on mids, and Gary Moncho on
           13    Q. I am asking you --                                 13   nights.
           14    A. Easy, easy.                                        14           THE COURT REPORTER: Can we take a break?
           15    Q. Well, I don't know why there is so much            15           MR. MOSER: Sure.
           16   thinking involved.                                     16           (Whereupon, a recess was taken at this
           17           MS. CABRERA: Excuse me. Because there          17       time.)
           18       is a deposition transcript being taken. That       18     Q. So who was involved in the selection of Maria
           19       is why there is so much thinking involved.         19   Suarez as one of the individuals who would separate
           20       He is not just going to give you answers that      20   from employment in early 2018?
           21       you want. That is why there is so much             21     A. Kevin Randall.
           22       thinking going on. I want that on the              22     Q. Did he make proposals to you?
           23       record.                                            23     A. No. He met with human resources. He spoke
           24    Q. Exhibit 22, does anybody report directly to        24   to John Wilkinson and came up with a group of people
           25   Barry Finkelstein?                                     25   that included Maria.


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                                                     Page 157                                                    Page 159
            1                   R. KOHN                                 1                 R. KOHN
            2    Q. When was Peter Lazar hired?                         2   January 2018, has the total number of managers gone
            3    A. I thought it was about five years ago. I            3   up or down?
            4   believe I said that earlier.                            4    A. We would have to count them. I think it
            5    Q. I am going to show you what was marked              5   stayed about the same.
            6   Plaintiff Exhibit 21 for identification. By looking     6    Q. So you added more manager between
            7   at this document, can you tell me whether or not        7   January 2017 and April 2018 at some point in time,
            8   Peter Lazar was employed as of January 2017?            8   correct?
            9    A. No. It does not appear so.                          9    A. No. I said I believe they stayed about the
           10    Q. Can you approximate for me when he was hired?      10   same.
           11    A. I thought roughly five years ago. This is          11    Q. But this document April 2018, this is after
           12   2017, so maybe it was six years ago.                   12   this reduction in force, correct?
           13    Q. I am going to show you Plaintiff's Exhibit 22      13    A. Yes.
           14   on the last page. According to this document, Peter    14    Q. So how many managers were eliminated as part
           15   Lazar is a mid-shift manager, correct?                 15   of the reduction in force?
           16    A. Yes.                                               16    A. There were five individuals from the
           17    Q. So that means he would have been hired             17   operations that were eliminated.
           18   sometime between January 2017 and April 2018; is       18    Q. Were they all managers?
           19   that fair to say?                                      19    A. They were supervisors and managers, one
           20    A. Yes.                                               20   router.
           21    Q. How many managers were hired at the Syosset        21    Q. So before those five positions were
           22   facility in 2017?                                      22   eliminated, those five managerial positions were
           23    A. I believe Pete Lazar, and I thought at the         23   eliminated, you actually had five more managers than
           24   same time Pete Lazar was hired, Carlos Linez was       24   you had in January 2017; is that fair to say?
           25   roughly that same time. I was looking to see if he     25    A. No. They are a different level of people.


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            1                  R. KOHN                                  1                 R. KOHN
            2   is on the older one here. I think they were hired       2   You pointed out Sean Kelly; that's a technology
            3   roughly the same time. I don't see Linez, so he         3   manager. You can see by sometime after January 2017
            4   must have come in after Lazar.                          4   and this report of April 2018, there is a technology
            5     Q. What about Sean Kelly? Was he also hired           5   manager to support the new efforts that the company
            6   between January of 2017 and April 2018?                 6   went towards with progressively managing with
            7     A. Sean Kelly has been a long-time employee of        7   systems versus doing things manually, and earlier I
            8   Southern held numerous jobs in Upstate New York, in     8   did say Pete Lazar came in to bolster the
            9   Metro New York, and now he is the operations leader     9   organization to have more management present. A
           10   in Katy, Texas. So he came up through the ranks,       10   different type of employee, yes.
           11   and I think his title there was technology manager.    11     Q. So the number of managers you had after the
           12     Q. Was that position addressed?                      12   layoff in April 2018 was roughly the same as it had
           13     A. Yeah. Sean Kelly, I could run through his         13   been in January 2017?
           14   résumé in my head for you. He started in Upstate       14     A. It appears that way, yes. It is close.
           15   New York as a router, went to customer service, went   15     Q. So for some reason just in terms of numbers,
           16   to purchasing, went to logistics, moved down to        16   I am not talking about where they fall in the
           17   Metro New York with a full knowledge of the back of    17   organizational chart but in terms of numbers in
           18   the house, ran logistics in Metro New York. He         18   between January 2017 and April 2018, just before the
           19   became our customer service manager in Metro New       19   layoff, five managers had been added to the staff in
           20   York, came into the warehouse to handle special        20   that time period?
           21   projects and the title of technology manager that      21     A. No. I do not know it is five. I said there
           22   would make sense coming in after January 1 before      22   were approximately the same number.
           23   '18 to be part of WMI, and you can see his reports     23     Q. Approximately?
           24   there are WMI trainees.                                24     A. Five people were reduced as part of the
           25     Q. So if we look at January 2017 and                 25   reduction in force. They were not all managers.


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                                                     Page 161                                                    Page 163
            1                  R. KOHN                                  1                   R. KOHN
            2   The company went through an exercise to identify        2   from the manual system to the automated system.
            3   opportunities to drive cost out of the system by        3     Q. When was Sean Kelly brought on?
            4   streamlining, by upgrading processes, and by            4     A. When was he brought onto the org chart?
            5   upgrading people and by identifying positions that      5     Q. When was he brought under Kevin Randall's
            6   could be closed, the company was successful in doing    6   direction?
            7   that. The company did consider job performance, and     7     A. Sometime around here.
            8   in the case of Ms. Suarez, I am sorry to say, she       8     Q. When you say around here, you mean
            9   had horrible performance documented over a decade,      9   January 2017?
           10   and John Wilkinson desperately tried to help her and   10     A. Yes. He was in Syosset. He was in New York
           11   save her. She was not saved. By fast-forwarding 16     11   for 15 years. He started in Upstate New York and
           12   months and trying to say you let five people go, but   12   let me just say for half of that time. For the
           13   you hired five others. That is not what this           13   second half of that time he was in Metro New York.
           14   reflects. This reflects a bolstering of the            14   He ran through a gamut of positions in Metropolitan
           15   organization to run leaner, faster, more productive    15   New York, gained an enormous amount of knowledge,
           16   with more talented individuals. I mentioned we         16   wanted to go into the technology area, which put him
           17   hired Pete Lazar as a person to bolster the mid        17   on Kevin's work chart. He was already doing special
           18   shift. The role wasn't there. I mentioned Sean         18   projects in Metropolitan New York and sat up there
           19   Kelly was a technological genius who has since been    19   in a role in a created position post the transition.
           20   promoted to run one of our largest distributions in    20     Q. When did John Wilkinson pass? I don't
           21   Texas.                                                 21   remember.
           22       These were people that came up through the         22     A. I don't know the date.
           23   ranks or were brought in from the outside to make      23     Q. When we look at April 2018 in this
           24   the organization stronger. That in conjunction with    24   organizational chart, does this show who was chosen
           25   closing out some roles that were duplicative or        25   for elimination?


                                                     Page 162                                                    Page 164
            1                   R. KOHN                                 1                   R. KOHN
            2   unnecessary made the organization stronger and made     2     A. I am not understanding does it show.
            3   the exercise of eliminating those positions a           3     Q. I will ask a better question. You have here
            4   success.                                                4   supervisor inven control.
            5     Q. So having hired additional staff in 2017 made      5        Was that Maria's job?
            6   it possible to reduce the staff in 2018; is that        6     A. It seems that way, yes.
            7   fair to say?                                            7     Q. That was her job, right? And her name was
            8     A. I don't know when we talked about when these       8   deleted simply when she was taken off of the chart;
            9   people were hired, and these people, like Mr. Kelly,    9   is that fair to say?
           10   was already an employee of the company. He was not     10     A. It appears that way.
           11   hired.                                                 11     Q. Can you see there are some other blanks here
           12     Q. I am talking about the specific facility, the     12   right above supervisor inven control. There is
           13   Syosset facility?                                      13   another box that just says manager, but there is no
           14     A. He was in Syosset.                                14   name.
           15     Q. He was not in Syosset as of January 2017?         15        Was this another individual let go?
           16     A. No. Sean Kelly was in Syosset for a decade        16     A. No. I think that was the box created for
           17   and a half in New York.                                17   Pete Lazar.
           18     Q. Was he as of January 2017 in Syosset?             18     Q. What about the supervisor that is on the
           19     A. He was in a different org chart.                  19   lower right-hand side of the page, where it says
           20     Q. Where was he?                                     20   supervisor, and there is no name above it.
           21     A. Mr. Kelly ran the back of the house               21        Do you know who that pertained to?
           22   departments and the position before he became the      22     A. I would assume that was an eliminated
           23   manager of technology, he came out of being customer   23   position.
           24   service manager and on assignment to the warehouse     24     Q. So in total how many managers were eliminated
           25   running special projects helping foster transition     25   as part of the five that were selected?


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            1                   R. KOHN                                 1                  R. KOHN
            2    A. I would say no managers were eliminated.            2     Q. Just so I am clear, it is titled Defendant's
            3    Q. How many supervisors were eliminated as part        3   Responses to Plaintiff's Consolidated Request For
            4   of the five?                                            4   Production of Documents. These are Southern
            5    A. Five.                                               5   responses for my request for documents. If you turn
            6    Q. Did Maria ever hold the title of inventory          6   to 19, the question is: We asked for all documents
            7   control manager?                                        7   concerning the decision to terminate the plaintiff,
            8    A. Before WMI administrator I believe her title        8   and the response is an objection, and then subject
            9   was warehouse inventory control manager. I think it     9   to and without waiving those objections, Southern
           10   has a warehouse in front of it.                        10   references their entire document production, which
           11    Q. Were there any documents generated regarding       11   is pages 1 to 2686 of SGWS's original document
           12   the selection of Maria as one of the individuals to    12   production. I will also further say to you that
           13   be eliminated?                                         13   Southern has indicated that they are not withholding
           14    A. Not that I have seen. I know that Kevin met        14   any documents concerning the decision to terminate
           15   with human resources and John to talk about the        15   the plaintiff.
           16   positions that could be collapsed.                     16       Based upon that, do you believe that any
           17    Q. So it was all verbal?                              17   documents exist concerning the decision to terminate
           18    A. It could have been in writing with human           18   Maria?
           19   resources. I haven't see anything.                     19           MS. CABRERA: Objection.
           20    Q. If there were any writings regarding Maria's       20     A. Again, I have not seen this document before.
           21   selection actually considering her for elimination,    21   It appears that Southern classifying this request to
           22   where would they be?                                   22   be duplicative and references 2686 pages.
           23    A. At this point from four plus years ago, four       23     Q. I will share with you I have gone over each
           24   and a half years ago, I would not know.                24   page, unfortunately. As far as I can tell, there
           25    Q. Is it fair to say you took this charge of          25   are no documents in there which show the actual


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            1                    R. KOHN                                1                    R. KOHN
            2   eliminating a certain number of people very             2   consideration of the reasons why Maria was
            3   seriously?                                              3   terminated. There are documented performance issues
            4     A. Yes. The company took it very seriously.           4   and things like that, but regarding the actual
            5     Q. Is it fair to say Kevin Randall took it very       5   decision, there are no documents in there.
            6   seriously as well?                                      6            MS. CABRERA: Objection.
            7     A. Yes.                                               7     Q. So is it fair to say all of the documents
            8     Q. As you sit here today, are there any               8   that existed regarding the decision to terminate
            9   documents that you are aware of which show how          9   Maria are located somewhere in these 2,686 pages?
           10   Southern selected the five individuals that were let   10     A. That is the way I read this, yes.
           11   go in operations?                                      11     Q. If a document is not in those 2,686 pages, it
           12     A. I believe I stated Kevin met with human           12   does not exist, correct?
           13   resources. That would have been Beth Toohig, the       13            MS. CABRERA: Objection.
           14   vice president of human resources. There would have    14     A. I didn't see the 2,686 pages.
           15   been a vetting of the people, the individuals, the     15     Q. Okay. I got you.
           16   positions. The company does not take these lightly.    16        Now, with regard to request 21, I will read
           17   I am sure internal counsel Lauren Moody was involved   17   it into the record. We asked for all communications
           18   in it. Are there documents resulting from those        18   concerning the employment decisions made with
           19   conversations and meetings? There could be. I am       19   respect to the plaintiff for the period from
           20   not in possession of any documents.                    20   January 1, 2014, to the present. Again, Southern
           21     Q. I am going to show you what was marked as         21   states some objections but then references the
           22   Plaintiff's Exhibit 29 for identification?             22   entire document response. Do you see that?
           23     A. Yes.                                              23     A. I do see the request and the response?
           24     Q. Have you seen this document before today?         24     Q. Is it fair to say that all communications
           25     A. No.                                               25   about the decision to select Maria as part of the


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            1                   R. KOHN                                 1                 R. KOHN
            2   reduction in force would be somewhere in SGWS 1 to      2   23, we ask for all documents concerning the hours
            3   2686?                                                   3   worked by the plaintiff for the period of January 1,
            4     A. It says again the request is duplicated, and       4   2016, until the plaintiff's last date of employment;
            5   I do see part of their response says that you are       5   and all documents which defendant contends shows
            6   seeking documents that are not irrelevant, that are     6   that she did not work overtime during this period.
            7   vague and ambiguous and unduly burdensome.              7   There are objections and then it says here, Subject
            8           (Whereupon, Email Chain was marked as           8   to and without waiving these objections, Southern
            9       Plaintiff's Exhibit 31, for identification,         9   Glazer's Wine and Spirits does not possess documents
           10       as of this date.)                                  10   in response to this request.
           11     Q. I am going to show you what was marked as         11       Does that mean that Southern has no documents
           12   Exhibit 31 for identification. I don't expect you      12   concerning the hours worked by Maria during this
           13   to be familiar with the document. I am just going      13   period of time?
           14   to read this into the record. I write to Anjanette     14    A. Of being a salaried employee?
           15   and Tim, Please confirm that defendant's responses     15    Q. Correct.
           16   to the consolidated request for production of          16    A. I work an enormous amount of hours, and
           17   documents numbered 1, 2, 3, 7, 8, 9, 12, 13, 14, 17,   17   Southern gives me credit for working about 40 a
           18   18, 19, 20, and 22 are amended so that the following   18   week. Salaried employees, the company does not
           19   language is inserted at the end of each response.      19   record hours.
           20   "Defendant is not withholding documents responsive     20    Q. As a manager, was she required to work
           21   to this request." And then the response from Angie,    21   overtime?
           22   Yes, that is correct. So according to Southern, no     22    A. Sometimes. Sure. She was part of Go Live.
           23   documents have been withheld.                          23    Q. Other than Go Live, was she required to work
           24       Does that mean that other than what was in         24   overtime?
           25   SGWS 1 to 2686, there are no communications            25    A. I think every manager nowadays. Everyone in


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            1                  R. KOHN                                  1                  R. KOHN
            2   concerning the employment decisions made with           2   an authoritative position needs to do what they need
            3   respect to Maria for the period from January 1,         3   to do, and if that includes working some overtime,
            4   2014, to the present?                                   4   yes.
            5    A. Yes. That makes sense.                              5     Q. Is there anything at Southern called an
            6    Q. Does that also mean that all documents              6   investigative file?
            7   concerning the decision to terminate Maria would be     7     A. I am not familiar with that phrase.
            8   found somewhere in that document production?            8     Q. Does Southern's human resource department
            9    A. Yes.                                                9   have investigative files on employees?
           10    Q. No other documents exist concerning the            10     A. I am sure they maintain investigation notes,
           11   decision to terminate Maria?                           11   documents, files.
           12    A. Yes.                                               12     Q. For what purposes?
           13    Q. So that would mean all of the communications       13     A. In a hypothetical situation, if an employee
           14   regarding the decision to terminate Maria were         14   went to human resources with an allegation and the
           15   verbal?                                                15   department performed an investigation, they would
           16          MS. CABRERA: Objection.                         16   likely write a report or file a report somewhere.
           17    A. I think it means it was part of the 2,686          17     Q. Did Maria submit her records of her hours
           18   documents.                                             18   worked to John Wilkinson?
           19    Q. And if they are not part of the 2,686              19     A. Not to my knowledge. It would not be
           20   documents, they would be verbal?                       20   required unless he asked for them for some specific
           21          MS. CABRERA: Objection.                         21   reason or she wanted to volunteer the hours she was
           22    Q. Is that fair to say?                               22   working.
           23          MS. CABRERA: Same objection.                    23     Q. I am showing you Plaintiff's Exhibit 12 for
           24    A. It seems so, yes.                                  24   identification. It was previously marked. I would
           25    Q. Now, Southern also responds, if we turn to         25   like you to read the letter portion of it, which is


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            1                  R. KOHN                                  1                   R. KOHN
            2   from SGWS 2601 to 2607 to yourself.                     2     A. Yes.
            3       My question for you at the end of this to           3     Q. Other than being standoffish and belligerent,
            4   keep in mind while you are reading it is whether any    4   your opinion regarding her performance is based upon
            5   of the facts that are stated in that appear to be       5   your personal observation or information from others
            6   incorrect or flawed?                                    6   and documents you reviewed?
            7     A. I have completed reading the document.             7     A. Information from others and documents I
            8     Q. Does anything in this document appear to be        8   reviewed. She reported to John Wilkinson who
            9   incorrect? Anything stand out as incorrect?             9   reported to Kevin Randall who reported to me, and I
           10     A. No.                                               10   had no direct supervision over Maria. I would not
           11     Q. Did you ever personally meet with Maria?          11   have any direct supervision of her. She was several
           12     A. Sure. I have known Maria for many years that      12   layers below.
           13   she worked there.                                      13     Q. You can't have time to supervise everyone?
           14     Q. How many times did you meet with Maria            14   That is, frankly, not your job, is it?
           15   personally?                                            15     A. Correct.
           16     A. Alone?                                            16           MR. MOSER: We are going to have to
           17     Q. Yes.                                              17       stipulate this one as well. It is marked
           18     A. Probably never.                                   18       SGWS 2351, and we are going to stipulate that
           19     Q. How many times did you meet with Maria with       19       this is Exhibit 32 for identification.
           20   other people?                                          20           (Whereupon, Email was deemed marked as
           21     A. Probably at inventory reconciliation meetings     21       Plaintiff's Exhibit 32, for identification,
           22   when the process was manual. Post inventory the        22       as of this date.)
           23   group would get together, whether it was Gregg         23     Q. So have you ever seen this document before
           24   Rizzly at the time who was replaced by Kevin           24   today?
           25   Randall, the accounting team, the inventory team,      25     A. No.


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            1                   R. KOHN                                 1                 R. KOHN
            2   Maria. If I was in the building. I might have went      2    Q. What is this?
            3   over. A big conference room type of meeting             3    A. It is an email between Maria Suarez, John
            4   reviewing where the inventories ended, maybe large      4   Wilkinson, and Kevin Randall.
            5   discrepancies, a chance for people to say, Oh, I        5    Q. Were you CC'd on this at all?
            6   know that is over or short, this truckload came in      6    A. No. It doesn't appear to include me.
            7   late or this truckload didn't come in. A handsful       7    Q. When John Wilkinson unfortunately passed,
            8   of times I probably attended those inventory            8   were his emails retained?
            9   meetings while the company operated a manual            9    A. Yes. They would have went to his manager,
           10   process.                                               10   which would have been Kevin Randall.
           11     Q. In reaching your opinions about the way Maria     11    Q. How long are those emails kept for?
           12   was doing her job, are you relying on communications   12    A. Depending on the person's position and the
           13   from other individuals and documents that you          13   retention policy, it could vary.
           14   reviewed or are you relying on your personal           14    Q. Do you know for Mr. Randall what the
           15   observations of her or both?                           15   retention policy was?
           16     A. Because I have only met with her a handful of     16    A. Maybe a year. I think John Wilkinson passed
           17   times, I have seen her in those inventory meetings     17   away in, I believe, it was 2019. I am embarrassed I
           18   and she was standoffish. You know, when someone        18   don't recall.
           19   would say she was belligerent or ignorant or           19    Q. So in terms of personal knowledge about what
           20   wouldn't pay attention or would walk away from them,   20   Maria was doing as a WMI administrator, her
           21   I would believe that because I saw that type of        21   performance, which individual today do you believe
           22   behavior in the small amount of times I was with       22   has the most personal knowledge about that?
           23   her.                                                   23    A. Today that would be Kevin Randall with John
           24     Q. So when you were with her, you observed that      24   Wilkinson's passing.
           25   she was standoffish and belligerent?                   25    Q. So up until John Wilkinson's passing, John


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            1                 R. KOHN                                  1               INDEX
            2   Wilkinson would have been the individual with the      2
            3   most knowledge about Maria's day-to-day performance    3   WITNESS       EXAMINATION BY                 PAGE
            4   in terms of what somebody saw, what somebody heard     4   Roy Kohn      Mr. Moser      7
            5   and perceived through their senses, correct?           5
            6    A. That makes sense.                                  6          EXHIBITS
            7    Q. Now, was legal counsel consulted or                7   PLAINTIFF'S DESCRIPTION                  PAGE
            8   communicated with regarding decisions made             8   19      Organization Chart January 2016 15
            9   concerning Maria?                                      9   20      Organization Chart October 2016 15
           10    A. Absolutely. Internal counsel, Lauren Moody,       10   21      Organization Chart January 2017 15
           11   would have been involved in all those matters.        11   22      Operations Chart          15
           12    Q. That would have been at every material            12   23      Organization Chart August 2018 15
           13   decision made with regard to Maria, for instance,     13   24      Notes                37
           14   when she was selected to be WMI administrator?        14   25      Notes                37
           15    A. No.                                               15   26      Email Chain             37
           16    Q. When she was selected for elimination?            16   27      Performance Improvement Plan 41
           17    A. Yes.                                              17   28      Email Chain             48
           18    Q. How long before Maria was selected for            18   29      Response               48
           19   elimination did you begin communicated with Lauren    19   30      Memo 9/2/16               100
           20   Moody? So when for the first time did you             20   31      Email Chain             169
           21   communicate with Lauren Moody about Maria Suarez's    21   32      Email                 175
           22   separation from employment?                           22
           23    A. I didn't. It would have been Kevin Randall        23
           24   in conjunction with human resources that bubbled it   24
           25   up to counsel.                                        25


                                                     Page 178                                                   Page 180
            1                  R. KOHN                                 1           CERTIFICATE
            2    Q. Would she have had final approval over the         2
            3   decision to let Ms. Suarez go?                         3       I, KAREN BERESHEIM, hereby certify that the
            4    A. I think the human resource department would        4   Examination Before Trial of ROY KOHN was held before
            5   have vetted the concept, the idea, and would have      5   me on this 22nd day of November, 2022; that said
            6   bubbled it up for clearance.                           6   witness was duly sworn before the commencement of
            7    Q. Were any of those communications between the
                                                                       7   his testimony; that the testimony was taken
            8   human resources department and Ms. Moody written?
                                                                       8   stenographically by myself and then transcribed by
            9    A. I would not have been privy to that.
                                                                       9   myself; that the party was represented by counsel as
           10          MR. MOSER: Thank you so much for your
           11      time. I have no further questions.                 10   appears herein;
           12          (Time Noted: 4:58 p.m.)                        11       That the within transcript is a true record
           13                                                         12   of the Examination Before Trial of said witness;
           14                                                         13       That I am not connected by blood or marriage
           15                                                         14   with any of the parties; that I am not interested
           16             ______________________                      15   directly or indirectly in the outcome of this
                           ROY KOHN                                   16   matter; that I am not in the employ of any of the
           17                                                         17   counsel.
           18   Subscribed and sworn to before me                     18       IN WITNESS WHEREOF, I have hereunto set my
           19   this   day of       2022.
                                                                      19   hand this 22nd day of November, 2022.
           20
                                                                      20
           21   ______________________________
                                                                      21      ________________________________
                   Notary Public
           22                                                         22      KAREN BERESHEIM
           23                                                         23
           24                                                         24
           25                                                         25


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                                                                 Page 181
            1   ERRATA SHEET FOR: ROY KOHN
            2     ROY KOHN, being duly sworn, deposes and
            3     says: I have reviewed the transcript of my
            4     proceeding taken on 11/22/2022. The following
            5     changes are necessary to correct my testimony.
            6   ______________________________________________
            7   PAGE LINE          CHANGE                  REASON
            8   ----|----|---------------------|--------------
            9   ----|----|---------------------|--------------
           10   ----|----|---------------------|--------------
           11   ----|----|---------------------|--------------
           12   ----|----|---------------------|--------------
           13   ----|----|---------------------|--------------
           14   ----|----|---------------------|--------------
           15   ----|----|---------------------|--------------
           16   ----|----|---------------------|--------------
           17   ----|----|---------------------|--------------
           18   ----|----|---------------------|--------------
           19   ----|----|---------------------|--------------
           20   ----|----|---------------------|--------------
           21        Witness Signature:_____________________
           22   Subscribed and sworn to, before me
           23   this ___ day of __________, 20 ___.
           24   ____________________              ___________________
           25   (NOTARY PUBLIC)                  MY COMMISSION EXPIRES




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